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               Transcript of DAVID FREEMAN
                         Date: November 17, 2014

       Case: MAHDAVI v. NEXTGEAR CAPITAL, INC., ET AL




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               DEPOSITION OF CORPORATE DESIGNEE, DAVID FREEMAN
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                                          1 (Pages 1 to 4)
                                                                         1                                                                          3
 1           IN THE UNITED STATES DISTRICT COURT                               1               APPEARANCES
 2           FOR THE EASTERN DISTRICT OF VIRGINIA                              2   ON BEHALF OF PLAINTIFF:
 3                   Alexandria Division                                       3        JONATHAN EDWARD LEVINE, ESQUIRE
 4   - - - - - - - - - - - - - - - - -x                                        4        LEVINE DANIELS & ALLNUTT PLLC
 5   JODI C. MAHDAVI,                         :                                5        5311 Lee Highway
 6               Plaintiff,          :                                         6        Arlington, Virginia 22207
 7          v.                   : Case No.:                                   7        (703) 525-2668
 8   NEXTGEAR CAPITAL, INC., et                     : 1:14-cv-00648-TSE-TCB    8
 9   al.,                        :                                             9   ON BEHALF OF DEFENDANT PAR SERVICES INC.:
10               Defendants.              :                                   10        JAMES N. MARKELS, ESQUIRE
11   - - - - - - - - - - - - - - - - -x                                       11        JACKSON & CAMPBELL PC
12                                                                            12        1120 Twentieth Street, NW, South Tower
13          Deposition of NEXTGEAR CAPITAL, INC.,                             13        Washington, DC 20036
14          By and through its Corporate Designee,                            14        (202) 457-1600
15                    DAVID FREEMAN                                           15
16                    Washington, DC                                          16   ON BEHALF OF DEFENDANT NEXTGEAR CAPITAL INC.:
17                 Monday, November 17, 2014                                  17        JAMES D. BRAGDON, ESQUIRE
18                      11:05 a.m.                                            18        GALLAGHER EVELIUS & JONES LLP
19                                                                            19        218 North Charles Street, Suite 400
20   Job No.: 70226                                                           20        Baltimore, Maryland 21201
21   Pages: 1 - 124                                                           21        (410) 727-7702
22   Reported By: Lee Bursten, RMR, CRR                                       22

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 1          Deposition of NEXTGEAR CAPITAL, INC., By                           1                CONTENTS
 2   and through its Corporate Designee, DAVID FREEMAN,                        2   EXAMINATION OF DAVID FREEMAN                               PAGE
 3   held at the offices of:                                                   3   By Mr. Levine                              6
 4                                                                             4   By Mr. Bragdon                            114
 5                                                                             5   By Mr. Levine                             119
 6                      JACKSON & CAMPBELL PC                                  6
 7                      1120 Twentieth Street, NW                              7
 8                      South Tower                                            8                EXHIBITS
 9                      Washington, DC 20036                                   9   (Attached to transcript. Exhibits 5, 6, 7, and 9 were
10                      (202) 457-1600                                        10                not introduced.)
11                                                                            11   NEXTGEAR DEPOSITION EXHIBITS                              PAGE
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13                                                                            13   Exhibit 2    NextGear Capital Inc.'s Answer          18
14                                                                            14            to Complaint
15          Pursuant to agreement, before Lee Bursten,                        15   Exhibit 3    NextGear Capital Inc.'s Answers         32
16   Registered Merit Reporter, Certified Realtime                            16            to Plaintiff's First Set of
17   Reporter, and Notary Public in and for the District                      17            Interrogatories
18   of Columbia, who officiated in administering the oath                    18   Exhibit 4    NextGear Capital Inc.'s            33
19   to the witness.                                                          19            Responses to Plaintiff's First
20                                                                            20            Request for Production of
21                                                                            21            Documents
22                                                                            22


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 1          EXHIBITS CONTINUED                                          1   you've been chosen as the corporate representative
 2   NEXTGEAR DEPOSITION EXHIBITS                               PAGE    2   for NextGear?
 3   Exhibit 8      Demand Promissory Note and Loan        61           3      A Yes.
 4            and Security Agreement                                    4      Q And you're here voluntarily today?
 5   Exhibit 10 Collections Management Record              65           5      A Yes.
 6   Exhibit 11 Condition Report              108                       6      Q And you're here to testify on each of the
 7   Exhibit 12 Howard letter to Mahdavi,            102                7   items designated in the notice of deposition?
 8            6/13/14                                                   8      A Yes.
 9                                                                      9      Q Okay. Are there any of the items in the
10                                                                     10   designation that you're not prepared to testify to
11                                                                     11   today?
12                                                                     12      A No.
13                                                                     13      Q And who is your employer?
14                                                                     14      A NextGear Capital.
15                                                                     15      Q And what's your business address?
16                                                                     16      A 1320 City Center Drive. It's Carmel,
17                                                                     17   Indiana.
18                                                                     18      Q And where do you work?
19                                                                     19      A My residence is 4320. I work out of
20                                                                     20   Baltimore, Owings Mills, Maryland.
21                                                                     21      Q And what's the full address?
22                                                                     22      A 4320 Holbrook, H-O-L-B-R-O-O-K.
                                                                   6                                                             8
 1               PROCEEDINGS                                            1      Q That's in Baltimore?
 2                  DAVID FREEMAN                                       2      A Yes.
 3     having been duly sworn/affirmed, testified as                    3      Q Okay. And what is your job title at
 4                   follows:                                           4   NextGear?
 5          EXAMINATION BY COUNSEL FOR PLAINTIFF                        5      A Account executive.
 6   BY MR. LEVINE:                                                     6      Q Okay. And what are your job
 7      Q    Would you please state your full name.                     7   responsibilities?
 8      A    David Freeman, F-R-E-E-M-A-N.                              8      A Basically to grow my market and/or
 9      Q    And Mr. Freeman, you understand you're here                9   retention, as far as collect the money.
10   as a corporate representative for NextGear?                       10      Q Okay. What is your market?
11      A    That's correct.                                           11      A Baltimore. I cover Baltimore, a little bit
12      Q    If you can take a look at what I've marked                12   of Pennsylvania, and that's pretty much it.
13   as NextGear 1.                                                    13      Q When you say "Baltimore," the city of
14          (NextGear Exhibit 1 was marked for                         14   Baltimore?
15   identification and attached to the deposition                     15      A Basically you can say the State of
16   transcript.)                                                      16   Maryland.
17   BY MR. LEVINE:                                                    17      Q And how long have you been employed at
18      Q    Have you seen this document before?                       18   NextGear?
19      A    I had not.                                                19      A I started with NextGear in June of '08.
20      Q    You've never seen it? Okay. This was the                  20      Q And when you started with NextGear, what
21   notice of deposition for NextGear to designate a                  21   was your position?
22   corporate representative. Do you understand that                  22      A General manager.

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                                                                                                     3 (Pages 9 to 12)
                                                          9                                                              11
 1      Q And how long were you a general manager for          1   going to ask you questions. Your attorney may have
 2   NextGear?                                                 2   an opportunity to object to some of those questions.
 3      A I guess about three years. And we                    3   And do you understand that you're still required to
 4   downsized and moved our offices to Indiana, so I          4   answer those questions even if your attorney objects?
 5   became an account executive in 2010.                      5       A Yes.
 6      Q Have you had any other roles within the              6       Q So unless he instructs you not to answer,
 7   company?                                                  7   you still need to provide an answer.
 8      A No.                                                  8       A Okay.
 9      Q So you've been an account executive since            9       Q Are we in agreement on that?
10   2010 to the present?                                     10       A Yes.
11      A Correct.                                            11       Q Okay. And please, if you don't understand
12      Q Have you ever given a deposition before?            12   any of my questions, let me know, okay? Is it fair
13      A No. This will be my first.                          13   if you don't say anything to me, that I will assume
14      Q Okay. Have you ever testified in court              14   that you understand my question?
15   before?                                                  15       A Yes.
16      A Yes.                                                16       Q Okay.
17      Q And was that on behalf of NextGear?                 17       A Yes.
18      A Yes.                                                18       Q And the central issue of this case is about
19      Q And where was that?                                 19   a 650i BMW; do you understand that?
20      A I've been -- this case, I guess about two           20       A Yes.
21   weeks ago. And a couple of other cases.                  21       Q So if I'm talking about the BMW, are we on
22      Q When you say "this case," do you mean --            22   the same page that we're talking about the white BMW

                                                     10                                                                  12
 1      A I guess against Baltimore-Washington.                1   650i?
 2      Q NextGear against Baltimore-Washington?               2     A     Yes.
 3      A Yes.                                                 3     Q     You said you testified in NextGear's claim
 4      Q So not Mrs. Mahdavi's case?                          4   against BW Auto. Have you testified in any other
 5      A Correct.                                             5   lawsuits on behalf of NextGear?
 6      Q Was that a hearing that you testified in?            6     A     Yeah, about three other cases.
 7      A It was -- I want to say a -- I guess we              7     Q     Okay. And when was that?
 8   were putting claim against his assets at the time,        8     A     I would not have the dates for that. Just
 9   what do you call that?                                    9   through the course of the years.
10          MR. BRAGDON: Preliminary injunction.              10      Q Okay. So since you became an account
11      A Preliminary injunction against Molavi,              11   executive, or when you were a general manager?
12   Mr. Molavi.                                              12     A     At one point, I think I was still a general
13   BY MR. LEVINE:                                           13   manager. And as an account executive. It's in both
14      Q The owner of BWA?                                   14   positions.
15      A The owner of Baltimore-Washington.                  15     Q And were those also attempts to collect?
16      Q And when was this?                                  16     A     Collect debt, yes.
17      A I'm going to say about two to three weeks           17     Q     Do you recall the most recent of the three?
18   ago. I don't have the exact date.                        18   Not the NextGear and BW Auto, but --
19      Q Okay. And was a preliminary injunction              19     A     Somewhat.
20   entered?                                                 20     Q     And who is the defendant in that case?
21      A Yes.                                                21     A     Who was the defendant? No, I wouldn't have
22      Q Since this is your first deposition, I'm            22   that name.


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                                                       13                                                           15
 1       Q Do you recall whose loan it was that              1   been filed in the case?
 2   NextGear was trying to collect?                         2       A Yes.
 3       A The name of the company?                          3       Q All right. And how about NextGear's answer
 4       Q Yes.                                              4   to the --
 5       A They've since gone out of business. It's          5       A Yes.
 6   been a couple of years. So no, I don't have the name    6       Q NextGear's answer to the preliminary
 7   of -- it was actually down in Fredericksburg,           7   injunction?
 8   Virginia.                                               8       A Yes.
 9       Q Okay. Other than your attorney, have you          9       Q All right. And did you review Lisa Long's
10   discussed the facts of this case with anybody else?    10   affidavit?
11       A No.                                              11       A Yes.
12       Q Did you speak to Lisa Long about the case?       12       Q Did you discuss Lisa Long's affidavit with
13       A That's my direct supervisor, so yes.             13   Lisa Long?
14       Q So you did speak to Lisa Long?                   14       A No. I actually just read it this morning.
15       A Yes.                                             15       Q Okay. Did you do any investigation into
16       Q All right. Did you speak to --                   16   the facts and circumstances for Ms. Long's affidavit,
17       A Outside of the company, NextGear, no. Of         17   the facts and circumstances that form the basis of
18   course Lisa, and our attorneys.                        18   her affidavit?
19       Q Okay. So no one else besides Lisa Long at        19           MR. BRAGDON: Objection, form.
20   NextGear did you speak to?                             20       A Rephrase the question, please.
21       A No. No.                                          21   BY MR. LEVINE:
22       Q Okay.                                            22       Q Sure. Ms. Long submitted an affidavit in
                                                       14                                                           16
 1      A Besides our attorneys, correct?                    1   this case.
 2      Q Yes, besides your attorneys. Not including         2       A Okay.
 3   your attorneys?                                         3       Q Did you do any investigation on your own to
 4      A Yes. Lisa and our attorneys.                       4   determine how she came up with the facts to put into
 5      Q Okay. Did you review any documents in              5   her affidavit?
 6   preparation for your deposition?                        6       A No.
 7      A Yes.                                               7       Q So you're here to testify on the factual
 8      Q Okay. What documents did you review?               8   issues in the subject matter of the complaint?
 9      A Just the legal contracts. That was pretty          9       A Correct.
10   much it.                                               10       Q And the factual allegations supporting
11      Q Okay. When you say "the legal contracts,"         11   NextGear's responses in its answer to the complaint?
12   which contracts?                                       12       A Correct.
13      A Our contracts with Baltimore-Washington.          13       Q And the issues and subject matter in
14      Q Did you review any of the pleadings in the        14   NextGear's answer to the complaint?
15   case?                                                  15           MR. BRAGDON: Objection, form. You can
16      A Yes, somewhat.                                    16   answer.
17      Q Did you review Mrs. Mahdavi's complaint?          17       A Correct.
18      A Yes.                                              18   BY MR. LEVINE:
19      Q Did you review NextGear's answer to the           19       Q And you're also here to testify to each
20   complaint?                                             20   fact learned by NextGear subsequent to the filing of
21      A Yes.                                              21   its answer to the complaint?
22      Q Did you review any of the motions that have       22           MR. BRAGDON: Objection, form. You can

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                                                                                                     5 (Pages 17 to 20)
                                                         17                                                              19
 1   answer.                                                   1      A Okay.
 2       A I guess we've already provided a response.          2      Q Have you seen this document before?
 3   BY MR. LEVINE:                                            3      A I have glanced at it, yes.
 4       Q Yes, but you've been designated, issue              4      Q Okay. When did you glance at it?
 5   number 3 on the notice of deposition says "Each fact      5      A This morning.
 6   learned by NextGear subsequent to the filing of its       6      Q And that was the first time?
 7   answer to the complaint that enables NextGear to          7      A Yes.
 8   either admit or deny an allegation in the complaint       8      Q Do you have any facts that would change any
 9   to which it previously answered that it lacks             9   of NextGear's answers?
10   sufficient knowledge or information with which to        10      A No.
11   admit or deny such allegation in the complaint."         11      Q In that answer to the complaint?
12           In other words, NextGear's answer to             12      A No.
13   paragraph 9 of the complaint, you're here for that,      13      Q You're not aware of any facts that would
14   you've been designated on that, correct?                 14   change NextGear's answer?
15           MR. BRAGDON: Objection, asked and                15      A No.
16   answered. I'll just point out NextGear's attorneys       16      Q Have you ever done any investigation to
17   are also investigating. He won't be testifying about     17   determine whether any answers need to be --
18   any investigation the attorneys have done or what the    18      A I was directly involved with everything, so
19   attorneys' trial strategy is.                            19   yes.
20           MR. LEVINE: He's testified that he's here        20      Q Okay. So just for the court reporter's
21   for all of these designations.                           21   sake and for my sake, try to let me finish my
22           MR. BRAGDON: Yes.                                22   question. Sometimes I'll pause before the end and

                                                         18                                                              20
 1           MR. LEVINE: So I need to establish that he        1   you'll want to give an answer, and that's fine, but
 2   actually knows something that he can testify on these     2   it will be easier if you wait until I finish my
 3   designations. Otherwise, someone else is going to         3   question before you give your answer.
 4   have to be deposed and I'm going to keep the              4      A    Okay.
 5   deposition open until we get the right person.            5      Q    So you were directly involved in helping
 6           MR. BRAGDON: Ask him what he knows.               6   prepare the answer?
 7           MR. LEVINE: We're getting there, okay?            7      A    No.
 8           MR. BRAGDON: I'm just making the point            8      Q    Okay. What were you directly involved in?
 9   that NextGear is being represented by attorneys who       9      A    As far as looking for the collateral
10   are also -- the way that topic is worded I think is a    10   inventory.
11   little broad. That's all I'm saying. So we object,       11      Q And so what was your involvement?
12   and we mention that. He would not know the trial         12      A    So once we discovered that they had
13   strategy.                                                13   defaulted and had moved the vehicles, we went to --
14           MR. LEVINE: You didn't submit any written        14   we keep a record of every audit. So we went to every
15   objection to the designation. So we're here today.       15   place that we had conducted an audit and verified a
16   He's been designated. He's your guy.                     16   vehicle. We actually have -- so we visited every --
17           (NextGear Exhibit 2 was marked for               17   every gas station, every dealership in the area,
18   identification and attached to the deposition            18   basically, looking for inventory.
19   transcript.)                                             19     Q Okay. When you say "they defaulted," who
20   BY MR. LEVINE:                                           20   are you referring to?
21       Q I would like you to take a look at what's          21      A    Baltimore-Washington.
22   been marked NextGear Exhibit 2.                          22      Q    Okay. And when did you discover that they


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                                                                                                     6 (Pages 21 to 24)
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 1   had defaulted?                                               1   discovered that the vehicles were missing.
 2      A     It was in April. I don't have the exact             2      Q So it was April of 2014, not March of 2014?
 3   date. I just know I was contacted on a Monday night.         3      A    April or March. That's what I'm saying. I
 4   I visited the lot on a Tuesday morning. And there            4   don't have the exact dates. I don't recall.
 5   were 13 cars on the lot out of 63.                           5     Q Okay. Now, you said you spoke with Lisa
 6     Q Okay. Was this on or about April 16th or                 6   Long about this matter?
 7   17th?                                                        7      A    Correct.
 8      A     Yes, I would say that.                              8      Q    What conversations did you have with her?
 9      Q     And did you personally go look for the              9      A    So as soon as I discovered our vehicles
10   vehicles?                                                   10   were missing, I called her and let her know how much
11      A     Yes.                                               11   inventory we had missing at the time. Continued to
12      Q     Did anyone go with you?                            12   attempt to contact Molavi, who was the owner.
13      A     No. A couple of times myself and Lisa rode         13   Actually, it was sitting with Alex, who was the
14   together. She's actually from out of town, so she           14   general manager at the time.
15   would come into town. We rode. But basically I was          15      Q You went to --
16   by myself. We had some other people in the area by          16      A    I went to the dealership.
17   themselves.                                                 17      Q    -- visit him --
18      Q Okay. Anybody from Manheim go with you?                18          MR. BRAGDON: Just let him finish his
19      A     Yes.                                               19   question.
20      Q     Who was that?                                      20   BY MR. LEVINE:
21      A     I can't even recall his name right now.            21      Q    So you went to BW Auto and spoke with
22   But yes, a representative did come. I just can't            22   Mr. Molavi and Alex Mahdavi?

                                                            22                                                             24
 1   recall his name.                                             1      A    Can I answer now?
 2      Q     And what was Manheim going with you to look         2      Q    Yes.
 3   for the cars for?                                            3          MR. BRAGDON: Sorry.
 4      A     Manheim actually had a lawsuit as well. It          4      A So Molavi was not there. I actually spoke
 5   started with Manheim. There were -- they extended a          5   with Alex Mahdavi.
 6   line above our credit line about 300,000. We had             6   BY MR. LEVINE:
 7   what we called a 30-day float at the time. And               7      Q Okay.
 8   within those 30 days, the vehicle was not paid or            8      A Alex -- Molavi did not respond via
 9   that 300,000 was not paid.                                   9   telephone that day. I actually went to the house the
10           So actually 60 days, Manheim contacted              10   next day.
11   them, let them know pretty much that they were going        11      Q What's Mr. Molavi's first name?
12   to be defaulted and repo'd.                                 12      A Khazeyer Molavi.
13      Q     How do you know Manheim contacted them?            13      Q Does he go by another name?
14      A     I was told by Molavi.                              14      A I just call him Molavi.
15      Q     By who?                                            15      Q Okay. And what did -- when you met with
16      A     Molavi, the owner of Baltimore-Washington.         16   Alex Mahdavi, what did he say to you?
17      Q     Okay. And when was that?                           17      A He basically had his hands in the air. He
18      A     That Tuesday morning. Actually Wednesday.          18   acted like he didn't know what was going on.
19      Q     When did Manheim contact BWA to inform them        19   Basically said, you know, get in contact with Molavi.
20   of the default?                                             20   And he provided me at the time I guess about 20 bill
21      A     That was Monday night, the 15th of April or        21   of sales, as I was doing my inventory. And then I
22   16th. Then I went there Tuesday morning and                 22   guess the additional remaining vehicles, he said he

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 1   did not know where they were.                                 1      Q    You assume?
 2      Q    Okay. You say he acted like he didn't know            2      A    I mean, I'm sure that we have falsified
 3   what was going on.                                            3   titles. I'll say that.
 4      A    Mm-hmm.                                               4       Q And how do you know the titles are
 5      Q    So you didn't believe him?                            5   falsified?
 6      A    Alex ran day-to-day operations, so I                  6      A    Because we have the originals still in our
 7   actually never spoke with Molavi. Maybe occasionally          7   files. The other part was I actually -- and again,
 8   I would stop by, Molavi was there, we would shoot the         8   I'm not good with dates, I don't have the dates down,
 9   breeze a little bit. But pretty much on the                   9   but I actually went to the hearing with the MVA, who
10   business, I dealt with Alex daily.                           10   they met with the head of investigations with the
11      Q    But my question is, you didn't believe him           11   MVA, who was Mr. Sherman.
12   when he was acting like he didn't know what was going        12    Q When was this?
13   on?                                                          13      A    This would have had to be in I would say
14      A    Correct. I did not.                                  14   May, early May. This happened in April.
15      Q    Okay. And what information do you have               15     Q And you say it was a hearing?
16   that would show that he did know what was going on,          16      A    Yes, a deposition for them as well.
17   other than the fact that his position as the                 17      Q    Who was deposed?
18   day-to-day -- running the day-to-day operations?             18      A    It was Molavi and Alex actually had to
19      A    I wouldn't have any -- I didn't have                 19   appear. I wasn't allowed to sit in on it, so I don't
20   anything else besides that he was involved in the            20   have any particulars. But when I met them there, I
21   day-to-day actions.                                          21   talked to Mr. Sherman, and he had basically let us
22      Q    Today, do you have any other information             22   know they had produced some titles. They actually

                                                             26                                                               28
 1   that would show that he knew what was going on with           1   was supposed to have been cut off from doing that.
 2   the -- what you claim is moving the vehicles around?          2   But he wasn't sure at the time how they got activated
 3           MR. BRAGDON: I'm just going to object to              3   in the system.
 4   the extent that information has been provided                 4      Q Okay. So Mr. Sherman is an investigator
 5   formally in this case. He's reviewed those                    5   for the --
 6   submissions as well.                                          6      A Yes, he's actually the head of
 7       A So at this time -- I'm not sure. I don't                7   investigations for the MVA.
 8   think -- I don't believe so.                                  8      Q And that would be the Maryland --
 9   BY MR. LEVINE:                                                9      A Maryland Vehicle Association.
10       Q Okay. So other than the fact that Alex ran             10          MR. BRAGDON: If it helps, I think what
11   the day-to-day operations, you're not aware of any           11   he's referring to is the replevin hearing.
12   facts that would show that he knew about any scheme          12   BY MR. LEVINE:
13   by BW Auto to defraud NextGear?                              13      Q And did Mr. Sherman provide documents to
14           MR. BRAGDON: Objection. Same objection as            14   NextGear on that issue of --
15   before.                                                      15      A Not at that time. I don't know if we
16       A I would say yes to that question, that --              16   gathered anything since then, but not at that time,
17   yes, that I -- I definitely think that we have some          17   no. Like I said, I wasn't able to go into the
18   things that show that he was involved in the fraud.          18   hearing.
19   BY MR. LEVINE:                                               19      Q And was Mr. Sherman deposed, do you know?
20       Q And what are those things?                             20      A No, I do not know. When you say
21       A I would assume that we have falsified                  21   "deposed" -- I'm sorry. He was the one holding the
22   titles.                                                      22   meetings.

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 1      Q Mr. Sherman held the meeting?                        1      Q    Has anyone at NextGear had contact with him
 2      A Yes.                                                 2   about the BW Auto titles?
 3      Q Was this in court?                                   3      A    Yes. Yes. I think that Lisa did speak
 4      A This was actually at the MVA, at their               4   with him momentarily, but I know that she was saying
 5   office.                                                   5   that he did not follow up.
 6      Q At the MVA?                                          6      Q    She told you that Mr. Sherman did not
 7      A Yes. Maryland Vehicle Association.                   7   follow up with her?
 8      Q And who at NextGear was involved in the              8      A    With her, yes.
 9   investigation with the MVA?                               9      Q    When did she tell you this?
10      A Myself just appeared.                               10      A    I know there was a few emails outstanding.
11      Q So you worked with Mr. Sherman?                     11   I guess about three weeks ago.
12      A On occasion. He'll contact me in reference          12      Q    There are emails between NextGear and
13   to different dealers, or I'll contact him as well, if    13   Mr. Sherman at the MVA?
14   dealers have some issues or some outstanding titles.     14      A    Yes.
15      Q Okay. But you communicated directly with            15      Q    And these emails are about possible
16   Mr. Sherman --                                           16   fraudulent titles procured by BW Auto?
17      A Yes, I communicated with --                         17      A    Correct.
18      Q -- regarding the BW Auto --                         18      Q    Has NextGear produced any of these emails
19      A Yes.                                                19   in this litigation that you're aware of?
20      Q -- title issues?                                    20      A    I'm not sure, no.
21      A Yes.                                                21      Q    Do these emails still exist?
22      Q And what did Mr. Sherman tell you about the         22      A    I would assume so.

                                                         30                                                              32
 1   titles that you were questioning?                         1     Q Were you copied on these emails?
 2       A So at the time he had a number of                   2     A No.
 3   outstanding titles. He was trying to get an idea of       3     Q So are these just between Lisa Long and
 4   what was legal buy or purchase versus what was            4   Mr. Sherman at the MVA?
 5   fraudulent that was outstanding.                          5     A I'm not sure who was copied on it.
 6       Q Okay. And Mr. Sherman said that some of             6     Q But that's who was communicating?
 7   the titles were fraudulent?                               7     A Yes.
 8       A Yes.                                                8     Q You don't know Mr. Sherman's first name?
 9       Q Did he identify which titles were                   9     A I do.
10   fraudulent?                                              10     Q And what's his first name?
11       A No, he did not. I provided him a list of           11     A Actually, Sherman Schwartz is his name.
12   what we had on file, a list of our titles.               12     Q Is that S-C-H-W-A-R-T-Z?
13       Q Have you spoken with Mr. Sherman since this        13     A Yes.
14   meeting?                                                 14     Q And what's Mr. Schwartz's phone number?
15       A I have not, no.                                    15     A 410-768-7536.
16       Q Has Mr. Sherman provided any documents to          16     Q And do you have a business address for
17   NextGear subsequent to your meeting with him?            17   Mr. Sherman?
18       A I do not believe so.                               18     A I do not. He's at Glen Burnie, the MVA at
19       Q Has Mr. Sherman stated what the results of         19   Glen Burnie. I don't have the address, though.
20   his investigation were?                                  20     Q Do you know his title?
21       A No. Like I said, I haven't had contact             21     A Investigations.
22   with him.                                                22         (NextGear Exhibit 3 was marked for

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                                                        33                                                              35
 1   identification and attached to the deposition            1   trying to get in contact with Molavi to find out
 2   transcript.)                                             2   where the vehicles were. As I said, I probably sat
 3   BY MR. LEVINE:                                           3   in the office with Alex for probably about two or
 4      Q Take a look at that, please. Do you                 4   three hours, waiting for a response from Molavi. At
 5   recognize that document?                                 5   that time, I actually left and then I drove down to
 6      A Yes.                                                6   Molavi's home the next morning.
 7      Q Have you seen it before?                            7     Q Okay. When you sat with Alex for two to
 8      A Yes.                                                8   three hours, what did you guys talk about?
 9      Q And are all the answers true and correct to         9      A    How did he get in the situation. At that
10   the best of your knowledge?                             10   time, he disclosed that Molavi may have a gambling
11      A Yes.                                               11   problem. And he was gathering up my bill of sales at
12      Q Did you participate in providing                   12   the time.
13   information to respond to the interrogatories?          13      Q Okay. And he provided all the bills of
14      A No.                                                14   sale to you?
15          (NextGear Exhibit 4 was marked for               15      A    Well, 20 at the time.
16   identification and attached to the deposition           16      Q    20?
17   transcript.)                                            17      A    20.
18   BY MR. LEVINE:                                          18      Q    Did that include the bill of sale for the
19      Q Take a moment and review that document,            19   BMW?
20   please, that's been marked as NextGear 4.               20      A    No.
21          Have you had a chance to review that?            21      Q    What else did Alex tell you when you were
22      A Yes.                                               22   with him?

                                                        34                                                              36
 1       Q Okay. Have you seen that document before?          1      A That was pretty much it.
 2       A Yes.                                               2      Q Did you ask him about the BMW during this
 3       Q And are all the responses true and accurate        3   meeting?
 4   to the best of your knowledge?                           4      A Not specifically, no. It was -- like I
 5       A Yes.                                               5   said, we had, what, 63 units, 13, so we were missing
 6       Q Did you see the documents that NextGear            6   50-something units. So no, I just asked where the
 7   produced in response to those requests for production    7   majority of the vehicles were.
 8   of documents?                                            8      Q And what did he tell you?
 9       A Yes.                                               9      A He said, "I don't know, I'll have to speak
10       Q Are there any additional documents that           10   with Molavi."
11   NextGear needs to produce in response?                  11      Q Are you aware of any facts as we sit here
12           MR. BRAGDON: Objection. You can answer.         12   today that would show that Alex knew where the
13       A No.                                               13   vehicles were located?
14   BY MR. LEVINE:                                          14          MR. BRAGDON: Objection. You can answer.
15       Q So you stated earlier that you had a              15      A Well, we actually located the one at his
16   conversation with Lisa Long, that you informed her      16   house so -- that he didn't know where one of the
17   that the vehicles were missing, you informed her of     17   vehicles were.
18   the situation?                                          18   BY MR. LEVINE:
19       A Yes.                                              19      Q But you said that you didn't ask him
20       Q And what other conversations did you have         20   specifically about the BMW.
21   with Ms. Long about BW Auto and the --                  21      A No, I said vehicles in general. So
22       A So at that point, we were basically just          22   rephrase the question. If I understand --

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                                                             37                                                          39
 1      Q    Are you aware of any facts that would show            1   That's when we had someone else go by to verify.
 2   that Alex did know where the vehicles were?                   2      Q And what were the other two vehicles
 3      A    So the facts that say he did know? So not             3   besides the BMW?
 4   all of them, but in reference to that 645, like I             4      A If I can remember correctly, there was a
 5   said, we actually were visiting their homes and prior         5   truck that was receivable. It was a pickup truck and
 6   addresses where we had verified vehicles before. And          6   an Expedition.
 7   that's when we discovered the 645 at his house. So            7      Q Were either of those vehicles what you
 8   he would have known where the vehicle was.                    8   would consider to be NextGear's vehicles?
 9      Q When you say "the 645," you mean --                      9      A That's what I said, we didn't get a chance
10      A    The BMW.                                             10   to verify, there were some people out or something
11      Q    What do you mean when you say you had                11   like that, so he did not stop to verify the VIN
12   discovered vehicles at his home before?                      12   number at that time.
13      A    So I didn't say at his home before. I said           13      Q And today do you know whether those other
14   we visited every dealership or place where a vehicle         14   two vehicles are considered NextGear vehicles?
15   had been verified via our audit. So gas stations,            15      A No, we never confirmed that, no.
16   prior dealerships. We visited Molavi's home and his          16      Q So they've not been repossessed?
17   home. That's when we discovered the BMW at his               17      A No. They're still missing.
18   house. So we visited the dealer's home. Anybody              18      Q How many vehicles has NextGear recovered of
19   involved in that dealership, we actually visited             19   the ones that were missing in this situation?
20   their place of residence.                                    20      A So at the time, we collected 13 vehicles.
21      Q And that is just in relation to the current             21   Since the initial 13, I want to say three more.
22   loan default by BW Auto?                                     22      Q The 13 that were initially recovered, where

                                                             38                                                          40
 1      A    Correct.                                              1   were they recovered from?
 2      Q    Not on prior occasions?                               2       A From the lot, from Baltimore Washington's
 3      A    No. Not on prior occasions.                           3   lot.
 4      Q    So this was the first time that NextGear              4       Q And you've recovered three more?
 5   had gone to Alex's house?                                     5       A Three more since then, yes.
 6      A    Correct.                                              6       Q And which vehicles are those?
 7      Q    Okay. And at the time -- who went to                  7       A No idea.
 8   Alex's house?                                                 8       Q And where were they recovered?
 9      A    Actually, I had gone there the day before,            9       A He actually brought a couple of them back
10   a couple of days. He and Molavi live like a block            10   to the lot for us to pick up.
11   from one another. So actually that night we                  11       Q Who did?
12   discovered, he had I think John Goodyear, who is one         12       A I'm assuming Molavi. I'm not sure who had
13   of our collectors, was in town helping, and he               13   them brought back.
14   actually went by the home and located that vehicle.          14       Q Okay. So he assisted in NextGear
15      Q And this is April of 2014?                              15   recovering the vehicles?
16      A    Correct.                                             16       A Yes.
17      Q    And did you talk to Mr. Goodyear about what          17       Q Other than the BMW, were any other vehicles
18   he saw when he went to the home?                             18   repossessed at somebody's home?
19      A    Basically that -- it was like, if I                  19       A No. No other vehicles were located.
20   remember correctly, it was probably three vehicles           20       Q No other vehicles were located?
21   that were there, that we thought were ours, but he           21       A No.
22   didn't get a chance to verify the VIN numbers.               22       Q Okay. And the BMW at Mrs. Mahdavi's home,

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                                                            41                                                                43
 1   at the time it was taken, was it parked in the               1      Q    I'm going to ask you about Mrs. Mahdavi's
 2   driveway?                                                    2   purchase of the BMW.
 3       A I'm assuming so. I wasn't there.                       3      A    Okay.
 4       Q It wasn't concealed in any way?                        4      Q    And tell me what you know about her
 5       A No.                                                    5   purchase of the BMW.
 6       Q It was out in the open?                                6      A    So we were not made aware that the vehicle
 7       A Yes.                                                   7   was supposed to have been purchased until after it
 8       Q But on her property?                                   8   was repossessed. Again, I spoke with Mahdavi during
 9       A Yes.                                                   9   the time of the default.
10       Q Did Mr. Mahdavi provide any assistance in             10          And he never made mention of that 645 being
11   recovering any of the vehicles?                             11   purchased or the location of it. Once the vehicle
12       A No.                                                   12   was repossessed and we were made aware that it was
13       Q Are you aware of any steps that Mr. Mahdavi           13   supposed to have been purchased, a couple of things
14   took to conceal the location of the vehicles?               14   that we had noticed on the bill of sale, it was
15       A No.                                                   15   actually purchased by Ms. Mahdavi prior to it being
16       Q Was anyone at NextGear aware of any steps             16   floor planned, meaning before we actually did the
17   Mr. Mahdavi took to conceal the location of any of          17   financing for it, which, again, is illegal.
18   the vehicles?                                               18          I guess the second part of that, once we
19       A Not that I'm aware of.                                19   saw the registration, it was actually registered to
20       Q Are you aware of what Mr. Mahdavi's                   20   not their address, but a wholesale office that he had
21   specific role would have been in obtaining what you         21   had in the past.
22   called fraudulent titles?                                   22      Q    Who is "he"?

                                                            42                                                                44
 1             MR. BRAGDON: Objection to form. You can            1      A Mr. Mahdavi. It was actually under her
 2   answer.                                                      2   name. I want to say it was in Temple Hills, but I
 3      A      He was in charge of financing. So to               3   don't have the exact address. Basically their
 4   process a loan, pretty much he did all the paperwork.        4   residence address was not used on the bill of sale.
 5   BY MR. LEVINE:                                               5      Q And what did that tell you?
 6      Q      Okay.                                              6      A    That there was something being concealed.
 7      A      So I would assume that he was the one who          7      Q    When did you learn of this?
 8   was actually pulling those titles. He would actually         8      A After the car had been picked up, once they
 9   pull them through the system.                                9   disclosed that they had purchased the vehicle. So
10     Q Okay. But you don't actually know, you                  10   this was provided I'm assuming by them, by
11   don't have any facts?                                       11   Mr. Mahdavi. They forwarded us I think the bill of
12             MR. BRAGDON: Objection. He just provided          12   sale.
13   some facts.                                                 13      Q What did NextGear do independently prior to
14   BY MR. LEVINE:                                              14   repossessing the BMW to determine whether it had been
15      Q      Other than his position, are you aware of         15   transferred to Mrs. Mahdavi?
16   his direct involvement in obtaining fraudulent car          16          MR. BRAGDON: Objection. You can answer.
17   titles?                                                     17     A Like I said, we weren't aware of any
18      A      No.                                               18   vehicles. So when we take our receivable list, I had
19      Q      Is anyone at NextGear aware of                    19   marked off what was supposed to have been sold.
20   Mr. Mahdavi's direct involvement in obtaining               20   Anything on that inventory list, we can pick up, we
21   fraudulent car titles?                                      21   have UCC to those vehicles.
22      A      Not that I'm aware of.                            22   BY MR. LEVINE:

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                                                        45                                                               47
 1       Q So the BMW was on your inventory list?             1      A Yes.
 2       A Correct.                                           2      Q And when did you become the account
 3       Q And other than looking at the inventory            3   executive for them?
 4   list, did you do anything to determine whether any of    4      A I've been dealing with them since 2008, I
 5   the vehicles had been sold?                              5   want to say.
 6       A No.                                                6      Q Okay. And other than the recent issues
 7       Q Do you know whether anyone at NextGear did         7   with their default, have there be any other issues
 8   anything to see whether any of the vehicles on the       8   with BW Auto?
 9   inventory list had been sold?                            9      A No other issues.
10       A Well, I guess when you say had they been          10      Q And the BW Auto's loan, Mr. Mahdavi is not
11   sold, again, I spoke with Mr. -- with Alex for two      11   on that loan, is he?
12   hours. He provided me 20 bill of sales at that time.    12      A No.
13   So that was not disclosed at that time. So if it was    13      Q Are you aware of what the relationship
14   sold at that time, it actually was sold I want to say   14   between Mr. Mahdavi and Mr. Molavi is?
15   in March, early March. So it wasn't disclosed to us     15      A I do not, no.
16   at that time that it was sold.                          16      Q Mr. Mahdavi is not an owner of BW Auto, is
17       Q Did you provide Alex with a list of cars --       17   he?
18       A Yes. Yes.                                         18      A He's not on the contract.
19       Q And the BMW was on the list of receivables?       19      Q When did BW Auto first notify -- excuse me.
20       A Yes.                                              20   Strike that. When did NextGear first notify BW Auto
21       Q And so you asked him to get bills of sale         21   that it was in default on its loan?
22   for the BMW?                                            22      A So that day, I guess the 16th or 17th,
                                                        46                                                               48
 1       A I asked him to get whatever was sold. So           1   whatever that Tuesday was.
 2   any vehicle, out of the 63 units, provide us with a      2      Q     Of April 2014?
 3   bill of sale that whatever you have sold. So go          3      A     Yes. So whenever -- whenever I was there
 4   through your records, give us a bill of sale on          4   and there was only 13 vehicles on the lot, it was
 5   whatever you have sold at that time.                     5   either "Hey, where are our cars," or "You need to pay
 6       Q Okay.                                              6   us." So at the time, Mr. Molavi said he didn't know
 7       A So it was not disclosed at that time.              7   where the cars were, he sold them all, he hid them,
 8   Again, it was not disclosed until after the car was      8   whatever he did. He said that --
 9   repossessed.                                             9      Q     I'm sorry. Mr. Molavi or Mr. Mahdavi said
10       Q I understand that. My question is, without        10   that?
11   it being disclosed, is there any way NextGear could     11      A     Mr. Molavi. When I visited him at his
12   have known independently?                               12   house, he would not disclose where the vehicles were.
13       A No, there's no way.                               13      Q     Okay.
14       Q You can't check the MVA records on your           14      A     But he just asked for 30 days, and he would
15   own?                                                    15   try to make everything whole.
16       A We don't have access to MVA records.              16      Q     Okay. And what did Mr. Molavi tell you
17   Again, that's when usually Sherman, he'll contact us    17   when you visited him at his house?
18   if there's a problem. If he gets an MVA complaint,      18      A     In reference to?
19   it usually comes from a customer, is how he knows       19      Q     The loan.
20   there's trouble.                                        20      A     Again, he just basically said he needed
21       Q Were you the account executive for BW             21   some time, "Dave, can I get some time, about 30
22   Auto's loan with NextGear?                              22   days."


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  1      Q     Did he say that he concealed the vehicles?          1   weekend?
  2      A     He said he would not tell me where they             2      A No.
  3   were.                                                        3      Q Did you go to the lot on Monday?
  4      Q     Okay. Did he --                                     4      A No.
  5      A     He said he did have the vehicles moved,             5      Q You went to the lot on Tuesday?
  6   yes.                                                         6      A Tuesday.
  7      Q     Mr. Molavi said he had them moved?                  7      Q And the lot was completely empty on
  8      A     He said he had the vehicles moved, but he           8   Tuesday?
  9   would not disclose where they were.                          9      A It had 13 vehicles.
 10      Q     Okay. Did he tell you who helped move              10      Q Only 13?
 11   them?                                                       11      A Yes.
 12      A     No.                                                12      Q And how many vehicles were on the lot the
 13      Q     Did he say that Mr. Mahdavi helped him?            13   Friday before?
 14      A     He didn't say anyone helped him. But I do          14      A I would say 65, 70. 70 vehicles.
 15   know Mr. Mahdavi was there the night they got moved,        15      Q Okay. And what conversation was with
 16   because I just spoke with him on the phone.                 16   Manheim on Monday?
 17      Q     Where is "there"?                                  17      A So that's when I guess they were trying to
 18      A     So I called the office, and I was actually         18   collect on the 300,000 that they were defaulted on.
 19   on the phone with Alex that evening.                        19      Q Okay. Who communicated with BW Auto, who
 20      Q     You called -- he was at BW Auto?                   20   from Manheim communicated with BW Auto?
 21      A     Yes. I talked to him on the phone at BW            21      A I don't have his name. Let me see if I
 22   Auto.                                                       22   have that here. Yeah, I don't have his name.

                                                             50                                                               52
 1       Q     And you say the night that they were moved?         1      Q    How do you know that Manheim communicated
 2       A     So I got there Tuesday morning.                     2   with BW Auto?
 3       Q     Yes.                                                3      A    When I got to Molavi's home, he had
 4       A     And that's where the cars -- I'm assuming           4   indicated that he was on the phone, that he had spoke
 5    they were moved that night, between that evening and         5   with Manheim.
 6    that morning.                                                6      Q Okay. What did Mr. Molavi tell you about
 7       Q     Okay. Why do you assume that?                       7   his communication with Manheim?
 8       A     Because I go by there all the time, so the          8      A    He was a little bit upset and frustrated
 9    lot was full.                                                9   with Manheim. His exact words were "After 20 years
10       Q     On what day?                                       10   of doing business with them, they basically
11       A     That Friday, as a matter of fact.                  11   threatened me."
12       Q     Okay. And then on what day were they               12      Q Did he tell you who he was speaking with at
13    moved?                                                      13   Manheim?
14       A     So between Monday and Tuesday morning.             14      A    He did. Again, I can't recall name.
15    Like I said, the conversation with Manheim took place       15      Q    Okay. And so Manheim had its own loan to
16    on Monday evening.                                          16   BW Auto?
17       Q     So I'm sorry, you had been by the lot the          17      A    Correct.
18    Friday before?                                              18      Q    And it had its own collateral?
19       A     Yes.                                               19      A    Correct. The cars would be considered the
20       Q     And the lot was full?                              20   collateral.
21       A     Yes.                                               21      Q Okay. And is there overlap between the
22       Q     And then did you go to the lot over the            22   cars, the collateral that's Manheim's collateral and


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                                                         53                                                           55
 1   that's NextGear's collateral?                             1       A In Manheim, Pennsylvania.
 2      A    Is there overlap? No.                             2       Q Manheim, Pennsylvania. And when did the
 3      Q    They're all different cars?                       3   title arrive at NextGear?
 4      A    Yes.                                              4       A So usually we get the title a day or two
 5      Q    Manheim's cars are Manheim's cars?                5   after the car is purchased. They overnight the
 6      A    Correct.                                          6   titles to us, to our headquarters.
 7      Q    And your cars are NextGear's cars?                7       Q And did that happen in this case?
 8      A    Correct.                                          8       A Yes.
 9      Q    Okay. And the BMW was not Manheim's car?          9       Q How do you know that?
10      A    No. It's on our receivable. You should           10       A Because we have the title on file.
11   have actually got a copy of the receivable.              11       Q Who has the title now?
12     Q Now, how did NextGear come to possess the            12       A We still have our title that was sent from
13   title to the BMW?                                        13   the auction.
14      A    So any time the vehicle is purchased from        14       Q And who has it?
15   the auction, the title actually comes directly to        15       A It's in our -- like I said, we have a title
16   NextGear. So we actually have a title center in          16   vault, so it's kept in the title vault.
17   Indiana. So once they make a purchase, they let them     17       Q And that's in Indiana?
18   know, I'm going to forward this with my NextGear         18       A That's in Indiana.
19   account. The auction will send that to us. We pay        19       Q Now, you're aware -- or are you aware that
20   the auction and they forward us the titles.              20   Mrs. Mahdavi took out a loan to purchase the BMW?
21      Q So who was involved in the transaction for          21       A Yes. After the car was repossessed and
22   the purchase of the BMW at auction?                      22   this came about, yes.
                                                         54                                                           56
 1      A I mean -- I'm not sure of your question.             1      Q It's your understanding that she took out
 2   Rephrase that, please.                                    2   the loan after the car was repossessed?
 3      Q Well, somebody had to be at the auction to           3      A No, no, no. I'm saying I was made aware
 4   purchase the BMW, correct?                                4   after the car was repossessed that she had a loan
 5      A So you're saying who actually purchased it,          5   out.
 6   as far as from Baltimore-Washington?                      6      Q And have you been made aware that she took
 7      Q Yes.                                                 7   out the loan prior to the car being repossessed?
 8      A I'm assuming Molavi or Alex, whoever has             8      A Yes.
 9   access to his account.                                    9      Q Okay. And that loan is with Pentagon
10      Q Okay. But you don't know specifically?              10   Federal Credit Union?
11      A No.                                                 11      A Yes.
12      Q And do you know what date the BMW was               12      Q And are you aware of any facts that would
13   purchased at auction?                                    13   show that that loan was not a legitimate loan?
14      A We should have provided that information.           14          MR. BRAGDON: Objection. Can I get a
15   It has exact dates on there.                             15   continuing objection on these "any facts" questions?
16      Q Okay. But you don't have an independent             16   He's not going to know counsel's trial strategy in
17   recollection?                                            17   this case. I'll just make the objection over again.
18      A No. 400 cars a day.                                 18          MR. LEVINE: I mean, you can make the
19      Q And the auction where the BMW was purchased         19   objection.
20   was at Manheim?                                          20          MR. BRAGDON: Okay. To the extent you're
21      A Correct. Manheim, Pennsylvania.                     21   asking him to summarize what facts will be used
22      Q Where in Pennsylvania is that?                      22   specifically at trial, he will not have that

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                                                                                                      15 (Pages 57 to 60)
                                                              57                                                                59
 1    knowledge.                                                    1          MR. MARKELS: Same objection.
 2            MR. LEVINE: I'm pretty sure that's not my             2      A I wouldn't know any other way to do it,
 3    question. I'm just trying to establish what facts he          3   sir.
 4    knows. He's here as NextGear's representative, so...          4   BY MR. LEVINE:
 5        A I mean, I will say once I saw the paperwork             5      Q Is it part of your duties and
 6    and after it was done, a couple of things I mentioned         6   responsibilities to obtain titles for vehicles?
 7    already that we noticed. It was made prior to the             7      A    No.
 8    unit being floored.                                           8      Q    How about released titles for vehicles?
 9            So he had actually already purchased it               9      A I can have them released. I'll take that
10    before we even put it on our floor plan, which again,        10   back. I mean, if I have to follow up on a title, we
11    is falsifying, because one of the stipulations, the          11   didn't get it, I may give the auction a call or
12    vehicle cannot be sold. You have to pay the vehicle          12   something like that.
13    off 48 hours after it's sold. Any time you buy a             13      Q But have you ever as part of your duties
14    vehicle from us, you sell it, it needs to be paid off        14   and responsibilities for NextGear obtained a title to
15    within 48 hours.                                             15   a vehicle?
16            I just want to make sure that's clear. And           16      A No.
17    then -- so like I said, the dates showed that she had        17      Q Tell me how NextGear knows that
18    actually purchased the vehicle before it having been         18   Mrs. Mahdavi had any knowledge of what BW Auto may
19    purchased by us. Secondly, once we verified, once I          19   have been doing with respect to these titles.
20    saw a copy of the address, again, I noticed that             20         MR. BRAGDON: Objection to form. You can
21    wasn't the residence that was listed on the bill of          21   answer.
22    sale in the title work.                                      22      A    I would not know.

                                                              58                                                                60
  1            So again, we had the original title. So we           1   BY MR. LEVINE:
  2   knew it had to be a duplicate title even to be sent           2      Q Does NextGear have any information to
  3   to the funding company, PG, Pentagon Funding or what          3   indicate that Mrs. Mahdavi had knowledge of what BW
  4   have you.                                                     4   Auto may have been doing?
  5   BY MR. LEVINE:                                                5           MR. BRAGDON: Objection. You can answer.
  6      Q      So how do you know it had to be a duplicate         6      A I would not know.
  7   title?                                                        7   BY MR. LEVINE:
  8      A      Because we still have the original title.           8      Q Did you investigate whether she had any
  9      Q      Is it possible that a new title could be            9   direct involvement in what you're calling a
 10   issued without the first title being...                      10   fraudulent scheme?
 11      A      Well, the way --                                   11      A I have not myself, no.
 12            MR. MARKELS: I'm going to object on                 12      Q Would anyone else at NextGear possess that
 13   speculation. Go ahead.                                       13   information?
 14      A      The way it's supposed to work, you're              14           MR. BRAGDON: Objection. Besides the
 15   supposed to -- you should pay the vehicle off, and we        15   attorneys?
 16   forward you the title, and then you get your title           16      A I wouldn't know. I'm not sure of the
 17   work done. So we still have our title on file,               17   grounds they have been pursuing after this has come
 18   meaning, so yeah, if they have a duplicate title, it         18   to fruition, so I'm unaware.
 19   was done under fraudulent circumstances.                     19   BY MR. LEVINE:
 20   BY MR. LEVINE:                                               20      Q Would Lisa Long be involved in trying to
 21      Q      Is that the only way to obtain a duplicate         21   determine whether Mrs. Mahdavi has direct knowledge
 22   title, is through fraudulent circumstances?                  22   of --

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                                                                                         16 (Pages 61 to 64)
                                                    61                                                           63
 1      A No. I mean, again, this was -- our              1      A Yes.
 2   attorneys are dealing with this now.                 2      Q Who signed it on behalf of NextGear?
 3      Q So only your attorneys?                         3      A Brian Geitner.
 4      A Yes.                                            4      Q Who is Brian Geitner?
 5      Q Okay. Are you familiar with how much            5      A He's our CEO.
 6   Mrs. Mahdavi paid for the BMW?                       6      Q And you mentioned before that the BMW was
 7      A I don't recall. I did see the bill of           7   sold before NextGear financed it?
 8   sale, but I don't recall.                            8      A Correct.
 9      Q Do you recall whether that price was a fair     9      Q Okay. And you said that that's against the
10   market value for the car?                           10   contract?
11      A I would say yes.                               11      A Correct.
12      Q And are you aware that she put a down          12      Q Okay. And where in the contract does it
13   payment down on the vehicle?                        13   reference that?
14      A Yes, I think so. I think it was on the         14           MR. BRAGDON: Objection to the extent that
15   bill of sale.                                       15   you're asking him to interpret a legal document.
16      Q Do you know whether Mrs. Mahdavi has ever      16      A If you go to page 2 of 12, it will be G.
17   bought any other cars from BW Auto?                 17   BY MR. LEVINE:
18      A No. I would not be aware of that.              18      Q 2 of 12, G. "To hold all amounts received
19      Q I'm going to skip ahead. This has been         19   that relate to any receivable that is subject to a
20   marked as NextGear Exhibit 8.                       20   recoverable advance in the form as received in trust
21           (NextGear Exhibit 8 was marked for          21   for the sole benefit of and for lender, and to remit
22   identification and attached to the deposition       22   such funds satisfying all amounts due lender and

                                                    62                                                           64
 1   transcript.)                                         1   owing by borrower for and in connection with such
 2   BY MR. LEVINE:                                       2   receivable, in each case within 24 hours of
 3      Q Take a minute to review this.                   3   borrower's receipt of such funds or receipt of such
 4       A I'm familiar with it.                          4   funds by any affiliate of borrower."
 5      Q Okay. Can you identify this document,           5            MR. MARKELS: You meant to say
 6   please?                                              6   "receivable" -- the document reflects "receivable
 7       A This is our demand and promissory note.        7   advance."
 8      Q Okay.                                           8            MR. LEVINE: Yes, sorry.
 9       A For NextGear.                                  9   BY MR. LEVINE:
10      Q And does this evidence NextGear's loan to      10      Q So BW is required to turn over the funds
11   BW Auto?                                            11   that it receives for the purchase?
12       A Yes.                                          12      A Correct.
13      Q Were you involved in the negotiating of        13      Q Okay. Is it required to obtain NextGear's
14   this contract?                                      14   authorization before it gives the buyer possession of
15       A Yes.                                          15   the vehicle?
16      Q Were you involved at all in drafting the       16      A Rephrase that. Say that one more time.
17   contract?                                           17   I'm sorry.
18       A No.                                           18      Q Does NextGear require that BW Auto obtain
19      Q Is this a standard contract for NextGear?      19   NextGear's permission before it would give the buyer
20       A Yes.                                          20   possession of the vehicle?
21      Q And Mr. Molavi signed this on behalf of BW     21            MR. BRAGDON: Objection to form. You can
22   Auto?                                               22   answer.

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                                                                                            17 (Pages 65 to 68)
                                                       65                                                           67
 1      A No. Under our contract, like it said, you          1       Q Okay. So as it relates to this BMW, it's
 2   have to pay. You have a certain amount of time to       2   as inventory?
 3   pay us once you sell the vehicle.                       3       A Correct.
 4   BY MR. LEVINE:                                          4       Q Okay. And when was this security interest
 5      Q So the contract allows them to sell the            5   perfected?
 6   vehicle?                                                6          MR. BRAGDON: Objection. You can answer.
 7      A Yes.                                               7       A It should be in -- it should be already
 8      Q BW Auto just has to give the money to              8   provided to you.
 9   NextGear?                                               9   BY MR. LEVINE:
10      A Correct.                                          10       Q When did you first learn that NextGear had
11      Q Okay. So in essence, you're entrusting BW         11   financed the purchase of the BMW?
12   with the vehicle, that they're going to provide the    12       A I guess once they filed suit against PAR.
13   money to NextGear?                                     13   When they first filed against PAR.
14          MR. BRAGDON: Objection to form. You can         14       Q When who filed suit?
15   answer.                                                15       A I guess Ms. Mahdavi.
16      A Correct.                                          16       Q When Mrs. Mahdavi filed suit in this case?
17   BY MR. LEVINE:                                         17       A Yes.
18      Q I'm sorry, your response was...                   18       Q That was the first time that you became
19      A Correct.                                          19   aware that NextGear had financed the BMW?
20          (NextGear Exhibit 10 was marked for             20       A No, no, no. I'm sorry. What's your
21   identification and attached to the deposition          21   question again? I'm sorry.
22   transcript.)                                           22       Q When did you first become aware that

                                                       66                                                           68
 1   BY MR. LEVINE:                                          1   NextGear had financed the BMW?
 2       Q I hand you what's been marked as NextGear         2      A As soon as it was floored. Whatever day it
 3   10. Take a moment to review this document, please.      3   was floored.
 4       A Okay.                                             4      Q Okay. And how did you become aware?
 5       Q All right. I'm going to follow up on that,        5      A I have a receivable for every dealer so it
 6   but let me turn back to the contract and NextGear's     6   shows a list of the vehicles that we funded for them.
 7   interest in the BMW before I get too far off that       7      Q Okay. And do you know what day that is?
 8   subject. Now, how does NextGear establish that it       8      A I do not.
 9   has a security interest in this BMW?                    9      Q And has the list of receivables been
10           MR. BRAGDON: Objection to form. You can        10   submitted?
11   answer.                                                11      A Yes.
12       A So when you sign your contract, we file a        12      Q And what's the process by which BW would
13   UCC, a Uniform Commercial Code, which gives us         13   submit, what is it, an authorization to finance the
14   interest in the property and all the assets.           14   purchase?
15   BY MR. LEVINE:                                         15      A So yes, they have to provide -- whatever
16       Q And NextGear's UCC for this BMW, was one         16   vehicles they would like floored, they let Manheim
17   filed for this BMW specifically?                       17   know whatever vehicle they would like floored, they
18       A No. General. General filing.                     18   would make the flooring clerk aware.
19       Q Okay.                                            19      Q So they don't go to NextGear?
20       A So any inventory that's filed with us or         20      A No. We can't -- they don't contact us.
21   floored on our floor plan, we automatically have an    21   They actually have to contact the auction.
22   interest, because of the interest filing.              22      Q Okay. Why don't they contact NextGear?

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                                                                                                     18 (Pages 69 to 72)
                                                             69                                                                71
 1      A    We can't give someone authorization to put            1      A So there was no contact with Manheim at
 2   something on their floor plan. They have to do it             2   that time. It was -- the auction that I had it
 3   themselves with the auction, how they're going to             3   forwarded to, Baltimore-Washington, I just let them
 4   pay, they make the auction aware of how they're going         4   know the vehicle was coming.
 5   to pay for the vehicle.                                       5      Q This was after it was repossessed?
 6      Q    Why can't you do that?                                6      A Correct.
 7      A    Because that would tell every one of my               7      Q You contacted with Manheim?
 8   dealers, hey, floor that vehicle with NextGear.               8      A Baltimore-Washington.
 9      Q    Is there something illegal about that?                9      Q And is that in Elkridge?
10      A    No. I mean, it would be illegal. It would            10      A Yes, that's the one in Elkridge.
11   be a conflict of interest.                                   11      Q And when did you do that?
12      Q    Okay. So then Manheim notifies NextGear              12      A The day I guess before it was delivered.
13   about BW's request?                                          13      Q So on or about May 20th, 2014?
14      A    So once they're made aware, they can do it           14      A We have the dates in there. It's
15   right through the system. They have an internal              15   consistent with whatever the dates are in the
16   portal and they go right in and floor those vehicles.        16   paperwork.
17      Q    Okay. So Manheim would have records of               17      Q So you were aware that the BMW was on your
18   when BW made the request to floor the vehicle?               18   receivable list when you went and you met with Alex
19      A    Yes. They should.                                    19   Mahdavi on or about April 15th or 16th?
20      Q    And have you reviewed Manheim's records on           20      A Correct.
21   the flooring of the BMW?                                     21      Q And the vehicle was repossessed on about
22      A    No.                                                  22   May 20th?

                                                             70                                                                72
 1       Q Has anyone at NextGear reviewed Manheim's               1      A      If that is what we have, then that would be
 2   records on the flooring of the BMW?                           2   the date.
 3       A I'm not aware of that.                                  3      Q Okay. When did NextGear or anyone working
 4       Q Did you do anything to determine whether                4   on behalf of NextGear first locate the BMW?
 5   NextGear reviewed Manheim's records on the flooring           5      A      So whatever date that we had that was
 6   of the vehicle?                                               6   picked up, we would have located it the day before.
 7       A No.                                                     7      Q And so it was just located the day before
 8          MR. BRAGDON: Objection. You can answer.                8   it was picked up?
 9       A No.                                                     9      A      Yes.
10   BY MR. LEVINE:                                               10      Q      And --
11       Q What communication has NextGear had with               11      A      So once we had it located, we had a couple
12   Manheim about the BMW?                                       12   of vehicles there, I contacted my repo team and let
13       A Since? Since...                                        13   them know, "Hey, if you could go by this address this
14       Q Any communication.                                     14   evening." And they had a copy of the receivable list
15       A There are two different Manheims. I'm not              15   as well, to see what vehicles they could locate
16   sure what you're asking me.                                  16   there.
17       Q Why don't you help me understand. I'm not              17      Q Okay. So I want to turn back to NextGear
18   clear on the difference between the Manheims.                18   10. Have you had a chance to review that?
19       A Are you talking about before it was                    19      A      Mm-hmm.
20   repossessed?                                                 20      Q      What is that document?
21       Q Starting with before it was repossessed,               21      A      It looks like our collection management
22   yes.                                                         22   report.


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                                                                                             19 (Pages 73 to 76)
                                                        73                                                          75
 1       Q And on the first page, there's lots of             1          MR. BRAGDON: To the extent we haven't
 2   redactions.                                              2   produced an unredacted version, yes.
 3       A What are you calling it?                           3   BY MR. LEVINE:
 4       Q Redactions. The black lines.                       4      Q So hopefully you've got better eyes than I
 5       A Okay.                                              5   do, because I have a real hard time looking at these
 6       Q Are you familiar with what would have been         6   documents. So what are these notes?
 7   in those rows?                                           7      A These are our attempt to collect, where we
 8       A It just looks like modified by just the            8   tracked what was done.
 9   names, the initials.                                     9      Q Okay. And do you have access to this? Is
10       Q Do you know who put those black marks on          10   this on a computer system?
11   that?                                                   11      A Yes.
12           MR. BRAGDON: Objection. I think you have        12      Q Okay. Does the computer system have a
13   to ask that to me. I think it was done by their         13   name?
14   attorneys.                                              14      A The screen that it comes from is collection
15           MR. LEVINE: Okay.                               15   management.
16   BY MR. LEVINE:                                          16      Q So you have access to this?
17       Q Do you know why these would have been             17      A Yes.
18   redacted?                                               18      Q Who else has access to this?
19       A No.                                               19      A So any superior, so myself, my direct
20           MR. BRAGDON: Same objection.                    20   supervisor Lisa, and any higher-ups on up the chain.
21           MR. LEVINE: So there's a privilege here?        21      Q Anyone...
22           MR. BRAGDON: The redacted ones, I think --      22      A Anybody involved in collections would have

                                                        74                                                          76
 1   we'll have to look at specific ones. I think some of     1   access.
 2   the redacted ones have been produced in full. We've      2       Q Okay. And the second column -- so you have
 3   also produced copies that were filed in Maryland         3   "Modified On" as the first column, then "Modified
 4   State Court in a different hearing.                      4   By," then "Method," then "Comment." Are those the
 5           MR. LEVINE: That are unredacted?                 5   only four columns?
 6           MR. BRAGDON: The ones in Maryland State          6       A Yes.
 7   Court were redacted. We'll have to look at any           7       Q So what does it mean -- I'm assuming, tell
 8   specific redactions. But it may be in the redacted       8   me if I'm wrong, that "Modified On" means the date
 9   ones that were produced. We certainly produced some      9   that someone is putting a comment in?
10   unredacted versions of redacted documents.              10       A Correct.
11           MR. LEVINE: Okay.                               11       Q And "Modified By" would be the person who
12           MR. BRAGDON: That we had already filed in       12   is putting the comment?
13   Maryland. If we filed it in a redacted version, we      13       A Correct.
14   provided the filed redacted version. And some of        14       Q And what is "Method"?
15   those at least we provided an unredacted version.       15       A So where we are in the collection. So
16           MR. LEVINE: Okay.                               16   usually it's "Monitor," or it's been closed out.
17           MR. BRAGDON: If there are specific              17   It's basically our status codes.
18   redactions you have questions about, I can -- I would   18       Q Okay. So "Monitor" is a status code?
19   have to provide that answer.                            19       A Yes.
20           MR. LEVINE: Okay. So I'll ask that you do       20       Q "Closed out" is a status code?
21   that for everything that's redacted on what's been      21       A Yes.
22   identified as NextGear 10.                              22       Q Okay. What are other status codes?

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                                                                                            20 (Pages 77 to 80)
                                                       77                                                          79
 1      A I can't even think of it. Come back to me          1   years back. So we just got some information out of
 2   on that. I can't recall at this second.                 2   there.
 3      Q On the second page, page 2 of 7, it says           3       Q Okay. So it was just another location to
 4   "Modified by Lisa Long."                                4   try to locate --
 5      A Mm-hmm.                                            5       A To locate inventory, yes.
 6      Q Okay? Is this whole page a record from one         6       Q Inventory. Okay. And who is Emile?
 7   day?                                                    7       A Emile would be Molavi.
 8      A Yes.                                               8       Q Khazeyer Molavi?
 9      Q And Lisa Long is the one who made this             9       A Mm-hmm.
10   comment?                                               10       Q So still on the page on 2 of 7, it's NG
11      A Correct.                                          11   000005, where it starts talking about Prestige
12      Q Okay. So it says, first line, "5/21, LL,          12   Imports.
13   recap of my visit, trying to locate inventory and      13       A Mm-hmm.
14   gather information"?                                   14       Q Did you visit Prestige Imports?
15      A Mm-hmm.                                           15       A Yes.
16      Q So is "LL" Lisa Long?                             16       Q So you were with Lisa and you both went to
17      A Correct.                                          17   Prestige Imports?
18      Q Okay. And so Lisa -- where does she work?         18       A Yes.
19      A She is from Ohio. So she actually flew in.        19       Q So tell me about what happened there.
20      Q She flew in from Ohio? Where in Ohio?             20       A Basically we went to Prestige. He was at
21      A I don't know.                                     21   one of the -- again, so just to backtrack and
22      Q Does NextGear have an office there?               22   explain, every 30 days, our dealers get audited.

                                                       78                                                          80
 1       A No. It's her physical address, her home.          1   During that audit, we verify what's sold and what's
 2       Q Does she work out of her home?                    2   still there. So we collect bill of sales at that
 3       A Yes.                                              3   time. If there's a car at a shop or anywhere else,
 4       Q Okay. So she flew in to Maryland?                 4   they give that address.
 5       A Correct.                                          5           So what happens is whatever address we have
 6       Q All right. And -- or I guess she went to          6   in our system from that audit, evidently Emile had
 7   try to locate vehicles on her own?                      7   vehicles or Molavi had vehicles from before, and we
 8       A Yes.                                              8   visited that dealership. That's one of the reasons
 9       Q Did you go with her?                              9   we went there.
10       A Yes.                                             10       Q And what did you learn there?
11       Q So you were with her on 5/21?                    11       A That he actually had a Maserati there. We
12       A Yes.                                             12   verified the VIN number. It was not the Maserati
13       Q Okay. Now, it says in the middle, it says        13   that Manheim was looking for. It was not on our
14   "Alex's dad house, 906 Westwood, Vienna."              14   floor plan, but with Manheim, their credit line.
15       A Yes.                                             15       Q So you're helping Manheim try to locate
16       Q Who is Alex's dad?                               16   their inventory?
17       A I'm not sure of his name.                        17       A Yes. If anything, we were aware of what
18       Q Okay. Does Alex's dad have anything to do        18   they were looking for as well, so yes.
19   with BW Auto?                                          19       Q So this was not a NextGear collateral?
20       A Not that we're aware of. It's one of the         20       A No. We were just trying to see if our
21   places we had a location, under -- I think Alex had    21   inventory -- any inventory we could find is what we
22   an account with us as well, that had defaulted some    22   were looking for.

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                                                                                                   21 (Pages 81 to 84)
                                                           81                                                                83
 1      Q    Who is Omid?                                        1   well.
 2      A    Omid is the owner there.                            2     Q     Where does he work?
 3      Q    What did Omid tell you about what BW Auto           3      A    Indiana.
 4   was doing with the vehicles?                                4      Q    And what information would Lisa Stevens
 5      A    He is -- basically was not aware. He said           5   have about the BMW?
 6   he would contact Molavi to see what was going on. He        6      A    She would not have any information that I'm
 7   was a good friend. Molavi had helped him out in the         7   aware of.
 8   business and learning the business, so he would try         8     Q All right. What information would she have
 9   to find out what was going on. But he didn't have           9   about NextGear's trying to collect on BW's loan?
10   any information.                                           10      A    So from the comment here, she was basically
11      Q    Did he ever provide you with any                   11   running VIN checks. So we have a system in place
12   information?                                               12   where we can actually run VINs through the auctions
13      A    No.                                                13   to see what's in the auctions. And that's what we
14      Q    Did he say anything about Alex?                    14   were doing at that time, to see if there was anything
15      A    No.                                                15   we could get a ping on.
16      Q    Okay. So was the conversation centered on          16     Q And was that done for the BMW?
17   Mr. Molavi?                                                17      A    That was done for all the vehicles.
18      A    Yes.                                               18      Q    What was learned about the BMW when that
19      Q    Who is Lisa Stevens?                               19   task was performed?
20      A    Lisa Stevens is one of our collectors as           20      A    Nothing. It wasn't at the auction, so it
21   well.                                                      21   wouldn't have showed up.
22      Q    Where does she work?                               22     Q So this is just for if BW was to sell the

                                                           82                                                                84
 1      A She works out of NextGear in Indiana.                  1   vehicle at auction?
 2      Q Okay. Is she a supervisor?                             2       A At auction, exactly. It would chime into
 3      A No. I don't think so.                                  3   all the auctions around the country. If it was
 4      Q If you turn to page 5 of 7. She's on the               4   registered, it would come up. We were just asking to
 5   modifier, modified by list.                                 5   lock it down.
 6      A Yes. So...                                             6       Q Was NextGear able to locate any vehicles
 7      Q So how does she have access to the                     7   using this method?
 8   collection management record, then?                         8       A We did not.
 9      A She's one of our collectors.                           9       Q Do you know about how many vehicles, in
10      Q Okay. So any collector has access?                    10   April of 2014, about how many vehicles sold that
11      A Yes.                                                  11   month?
12      Q And does she work for you?                            12       A I do not. Like I said, I was given 20 bill
13      A Kind of hand in hand. Doesn't work for me,            13   of sales at the time, which would be a little -- be a
14   but...                                                     14   little high. Normally they sold about ten units of
15      Q She didn't report to you?                             15   floor plan when they would get an audit done, so 20
16      A No.                                                   16   was on the extenuating side at that time.
17      Q Does she report to Lisa Long?                         17       Q Okay. And do they finance all their
18      A No.                                                   18   vehicles through NextGear?
19      Q Do you know who she reports to?                       19       A No. They have some vehicles that they will
20      A I do not.                                             20   pay cash for.
21      Q And who is John Goodyear?                             21       Q Okay. And --
22      A John Goodyear is one of our collectors as             22       A We had the majority of their inventory.

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                                                                                                 22 (Pages 85 to 88)
                                                         85                                                               87
 1      Q Do you know if they had a floor plan with            1   as well. He was looking for the three vehicles. I
 2   anyone else?                                              2   think it's mentioned in here. The Maserati...
 3      A    No.                                               3      Q He was looking for Manheim's vehicles?
 4      Q    No, you don't know?                               4     A       Correct.
 5      A    No, they did not, that I'm aware of.              5     Q       Do you know whether he located them?
 6          MR. BRAGDON: Do you want a break?                  6     A       No.
 7          MR. LEVINE: Do you need a break?                   7     Q       Was the Maserati Manheim's?
 8          MR. BRAGDON: Any time you want to take a           8     A       None of their vehicles have been located,
 9   break, we can.                                            9   that I'm aware of.
10          THE WITNESS: How much longer do you have?         10      Q Now, the record references an informant?
11   I could use the restroom.                                11     A       We had a few people call stating that they
12          MR. LEVINE: We can take a break.                  12   knew where the vehicles were; but nothing ever came
13          (Recess.)                                         13   about, because we never located them.
14   BY MR. LEVINE:                                           14     Q Okay. Do you have the identities of these
15      Q Who is John Goodyear?                               15   people?
16      A John Goodyear is one of our collectors.             16     A       I do not.
17      Q So he was also involved in trying to                17     Q       So --
18   collect the --                                           18     A       Most of them were very vague.
19      A Yes. He was -- I'm sorry. Go ahead.                 19     Q       So the informant was not someone regularly
20      Q He was also involved in trying to collect           20   used by NextGear?
21   the BW loan?                                             21     A       No.
22      A    Correct.                                         22     Q       Okay.

                                                         86                                                               88
 1      Q   And trying to recover the vehicles?                1     A Guys basically trying to get some money.
 2      A   Correct.                                           2     Q Okay. So how did this person contact
 3      Q   Okay. So was he doing -- did he do any             3   NextGear?
 4   surveillance?                                             4     A Via phone, I would assume.
 5      A   Yes.                                               5     Q Okay. Did he leave his name?
 6      Q   Where does he work?                                6     A No. That's what I'm saying, most of them
 7      A   He works in Indiana.                               7   were very vague.
 8      Q   He also came--                                     8     Q What was --
 9      A   Flew in, yes.                                      9     A I didn't talk to him myself, so...
10      Q   Flew into Maryland?                               10     Q Who did?
11      A   Yes.                                              11     A I'm not sure.
12      Q   Did Lisa Stevens fly into Maryland?               12     Q Would it have been John Goodyear?
13      A   No.                                               13     A He may have.
14      Q   Do you know on what's marked as NG 000008         14     Q So if you turn to NG 000009. Do you know
15   which vehicle VIN numbers are -- of which these          15   who the task collections incident, who the individual
16   numbers would be for the BMW?                            16   would have been who made the comment?
17      A   No. You can match it up to the receivable.        17     A This is still Lisa, LL.
18      Q   Who is Matt Easler?                               18     Q All right. So you're seeing where it says
19      A   Matt Easler would be the contact at               19   "LL after 4/17"?
20   Manheim.                                                 20     A Mm-hmm.
21     Q What was his involvement in this matter?             21     Q So above that, it says "LL 4/16."
22      A   So Matt actually came down and rode with us       22     A Mm-hmm.

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                                                                                                  23 (Pages 89 to 92)
                                                            89                                                            91
 1       Q For 4/18 there's no initials. Do we know               1      Q Who made the decision to repossess the BMW?
 2   if that's her?                                               2      A Both of us. Once we located it, I think
 3       A No. I'm not sure.                                      3   the notes say John sold the vehicle on 5/19.
 4       Q Do you know who Scott Collier is? It's at              4      Q John Goodyear?
 5   the bottom of that page. "Criminal invest."                  5      A Yes. So that same day, I contacted my repo
 6       A Criminal investigator, but I don't know who            6   team to let them know to go by that address in the
 7   that is.                                                     7   evening.
 8       Q Do you know -- it says "criminal invest."              8      Q Who is your repo team?
 9   Do you know what that means?                                 9      A PAR Services.
10       A Criminal investigator.                                10      Q Who did you contact there?
11       Q Is this law enforcement?                              11      A Denny.
12       A It could be. Like I said, I don't know who            12      Q Denny?
13   he is.                                                      13      A Denny Par [sic], yes.
14       Q Okay. And so this was Lisa speaking to                14      Q His last name is Par?
15   that person?                                                15      A Mm-hmm.
16       A There are no initials on there, so I'm not            16      Q Is that P-A-R-R?
17   sure who that actually was. I would assume so.              17      A P-A-R.
18       Q So other than when you went to visit Alex             18      Q Just P-A-R?
19   at the dealership, did you have any other                   19      A Yes.
20   communications with Alex about any of these cars?           20      Q Is his last name. Okay. Does he own the
21       A No.                                                   21   company?
22       Q How about Mr. Molavi?                                 22      A No. His father.

                                                            90                                                            92
 1      A      I spoke to Mr. Molavi on a daily basis.            1      Q Who is his father?
 2      Q      Okay. And did he provide any information           2      A Mr. Par.
 3   to you?                                                      3      Q Got you. Did you speak with anyone else at
 4      A      No. No.                                            4   PAR Services about repossessing the BMW?
 5      Q      Okay. Did Lisa Long speak with Alex                5      A No.
 6   Mahdavi?                                                     6      Q Did you call Denny?
 7      A      Not that I'm aware of, no.                         7      A Yes.
 8      Q      Did she speak with Mr. Molavi?                     8      Q And you called him on the 19th of May?
 9      A      Yes.                                               9      A Yes. Or the 20th. It would have been that
10      Q      And when did she speak with him?                  10   morning.
11      A      She was probably communicating with him on        11      Q All right. What did you tell him?
12   a daily basis as well.                                      12      A Basically that we thought we saw one of our
13      Q You would both speak to him on a daily                 13   vehicles or a couple of our vehicles at that address,
14   basis?                                                      14   at Mahdavi's address, and to go by there.
15      A      Yes.                                              15      Q Okay. And then what was your next
16      Q      Independently or on a conference call?            16   communication with PAR Services about the BMW?
17      A      Independently. If she was in town, then it        17      A Well, there was -- the next day. He got it
18   would be together. But yes.                                 18   that night. He let me know that he was able to get
19     Q How many times did she come into town on                19   the vehicle.
20   this matter?                                                20      Q Okay. So after you instructed PAR Services
21      A      Probably about two or three, three times.         21   to obtain the vehicle, the next communication was
22   I'm not sure. Two times.                                    22   when they -- after they had obtained it?

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                                                                                         24 (Pages 93 to 96)
                                                    93                                                           95
 1       A Correct.                                       1   entered the inside of the vehicle?
 2       Q Did you provide any information to PAR         2      A Not that I'm aware of.
 3   Services about the vehicle besides describing the    3      Q Including the trunk?
 4   make and models?                                     4      A Not that I'm aware of. Like I said, they
 5            MR. BRAGDON: Objection to form. You can     5   didn't have keys, so...
 6   answer.                                              6      Q And did you instruct Denny where to take
 7       A Yes. So we provided them with the              7   the BMW?
 8   receivable which lists all the vehicles that they    8      A Yes.
 9   have on their floor plan with the VIN numbers, so    9      Q And where did you --
10   they can verify it by the VIN.                      10      A Transport it to Baltimore-Washington
11   BY MR. LEVINE:                                      11   Manheim.
12       Q Okay. Other than providing the receivable     12      Q And when was that done?
13   to PAR Services, did you provide any other          13      A I guess a couple of days later. I don't
14   information to PAR Services?                        14   have the exact date.
15       A Just addresses of where to go look.           15      Q Okay. Do you know when Manheim obtained
16       Q Did you provide a copy of the title to the    16   possession of the vehicle?
17   vehicle?                                            17      A It should have been provided. But yes, we
18       A No.                                           18   have it on record, I don't recall the exact date.
19       Q Did you know whether or not you had the       19      Q And how did you learn that the vehicle had
20   title to the vehicle at this time?                  20   been taken to Manheim, BW Manheim? Is that how it's
21       A Yes.                                          21   referred to, BW Manheim?
22       Q Did you have the title to the vehicle at      22      A Baltimore-Washington, yes.

                                                    94                                                           96
 1   this time?                                           1       Q How did you learn that it had been
 2       A Yes.                                           2   delivered to BW Manheim?
 3       Q So after the vehicle was repossessed, who      3       A So they let me know, once they take it
 4   contacted you from PAR?                              4   over, I do a report to let them know we'll get it
 5       A Denny.                                         5   checked in, so our repossession team will verify that
 6       Q And did he call you?                           6   it's been checked in over there.
 7       A Yes.                                           7       Q When you say "they," you mean PAR Services
 8       Q And what day was it that he called you?        8   will let you know?
 9       A It would have been the 21st.                   9       A They'll let me know when they take it in,
10       Q And what did he say?                          10   yes.
11       A That they picked up the vehicle. It was on    11       Q Did they do that in this case?
12   his lot, and where did I want him to take it.       12       A Yes.
13       Q They took the vehicle back to his lot?        13       Q Did Denny call and tell you that?
14       A His storage lot.                              14       A Yes.
15       Q And where is that located?                    15       Q Any written communications with PAR
16       A I don't know. They have a couple, but I'm     16   Services?
17   not sure exactly which lot he took it to.           17       A No. I pretty much deal with them on the
18       Q Do you know whether they conducted an         18   phone.
19   inventory of the vehicle?                           19       Q Okay. So no emails with PAR Services?
20       A They did not, because they did not have       20       A No.
21   keys to the vehicle.                                21       Q No?
22       Q Do you know whether anyone at PAR Services    22       A No.

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                                                                                             25 (Pages 97 to 100)
                                                         97                                                             99
 1      Q And do you have a contract with PAR                  1   to do an inventory.
 2   Services?                                                 2      Q Okay. Did they do an inventory?
 3      A Yes. Just a general contract. Basically              3     A    Yes.
 4   they provide us with their license number and that        4     Q    They didn't have keys?
 5   kind of stuff. Just generally make sure they're           5     A    Any time they get a car and it does not
 6   bonded.                                                   6   have keys, they automatically have keys made so they
 7      Q Now, when did NextGear first learn that              7   can move the vehicle around.
 8   Mrs. Mahdavi might have had an interest in the BMW?       8      Q All right. And did they provide you with
 9      A So I guess it was made aware like a day or           9   an inventory?
10   two later. She actually contacted PAR, and in return     10     A    Nothing written. They said nothing was
11   they contacted me.                                       11   found.
12      Q Okay. Did you ever speak with                       12      Q There was nothing in the vehicle?
13   Mrs. Mahdavi?                                            13     A    Nothing -- the only thing that was found I
14      A No.                                                 14   think was some gloves that were put in the back.
15      Q Do you know if anyone at NextGear has               15      Q Okay.
16   spoken with Mrs. Mahdavi?                                16     A    Workout gloves.
17      A No.                                                 17     Q    So no watch?
18      Q No, you don't know, or no one has?                  18     A    No watch.
19      A No, I'm not aware. No.                              19     Q    No cash?
20      Q So when the vehicle was taken to Manheim,           20     A    No cash.
21   did you talk to anyone at Manheim about the BMW?         21     Q    And no jewelry?
22      A Yes.                                                22     A    (No verbal response.)

                                                         98                                                            100
 1      Q And who did you speak with there?                    1      Q Just bags of clothes?
 2      A Their repossession team. Christian Taylor.           2      A Workout clothes, I think.
 3      Q Did he call you to tell you he had the               3      Q Child car seat?
 4   vehicle?                                                  4      A No.
 5      A No.                                                  5      Q Have you had any communications with April
 6      Q Did you call him?                                    6   Rector about the BMW?
 7      A Yes. I wanted to confirm it was there.               7      A Just at the time when it happened.
 8   Like I said, the way it happens, Denny would let me       8      Q What was that communication?
 9   know the vehicle is being taken over there. I have        9      A To transport the vehicle.
10   what they call a repossession form, so I submit that.    10      Q So you spoke to Denny and to April Rector?
11   Our repo team verifies -- like I said, we have an        11      A Mm-hmm.
12   automatic connection with the auctions, they'll let      12      Q What was your conversation with April
13   us know when a vehicle has been checked in. So we        13   Rector?
14   verified that the vehicle was there.                     14      A Just to transport it. I think when I
15      Q Now, was the vehicle already at Manheim             15   originally called, I was on the cellphone, I called
16   when you learned that Mrs. Mahdavi was saying that       16   the office and got her, just to let her know, "Hey,
17   she owned the vehicle?                                   17   transport that for me." Then Denny called me back.
18      A I am assuming so. I think so.                       18      Q Did you find any other vehicles at homes of
19      Q What instructions did you give to Manheim           19   any other BW Auto employee?
20   about the BMW?                                           20      A No.
21      A I let them know, I guess there was an               21      Q Where is the BMW now?
22   accusation that they had a watch in the vehicle, and     22      A Still at Manheim, Baltimore-Washington.

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                                                                                             26 (Pages 101 to 104)
                                                      101                                                                103
 1       Q When was the last time you saw it?                 1   collection management screen. But it's just like any
 2       A I guess when it was originally repossessed,        2   other vehicle, nothing specific towards that 645.
 3   say the 24th or something like that.                     3       Q And so did you review, you know, what the
 4       Q Of May?                                            4   standard collection file would be for the BMW in
 5       A Uh-huh.                                            5   preparation for this deposition?
 6       Q Have you seen it since?                            6       A No. I mean, there's not much done with it,
 7       A No.                                                7   just to elaborate. I mean, it's been repossessed,
 8       Q Okay. Have you been given any reports on           8   because you have the legalities. Most of the time we
 9   its whereabouts?                                         9   sell the vehicles within ten days, so we run it back
10       A No. They were just keeping it in their            10   to the auction. So that hasn't been sold because of
11   storage lot.                                            11   the legal proceedings we're going through now.
12       Q Okay. So as far as you know, it's still           12       Q Okay. Now, the letter from Pentagon
13   sitting on their lot?                                   13   Federal Credit Union to Mrs. Mahdavi, it says that
14       A Yes.                                              14   NextGear authorized the repossession. Do you agree
15       Q Do you know if anyone's been inside the BMW       15   with that statement?
16   since it was inventoried?                               16       A Correct.
17       A No, I wouldn't know that.                         17       Q Okay. And there's no dispute that PAR
18       Q Are you aware that Pentagon Federal Credit        18   Services was acting on behalf of NextGear?
19   Union contacted NextGear?                               19           MR. BRAGDON: Objection. You can answer.
20       A Yes.                                              20       A No.
21       Q And what do you know about that?                  21   BY MR. LEVINE:
22       A That they contacted us, that's when we were       22       Q Now, going back to NextGear's answer to the

                                                      102                                                                104
 1   made aware about the loan. And that's when they          1   complaint in this matter, several defenses are
 2   faxed over their information.                            2   asserted. And one of the defenses that's asserted is
 3      Q Okay. And who is Stacy Miller Byrd?                 3   that Mrs. Mahdavi's claims are barred by fraud. Are
 4      A She's one of the collectors. Stacy Miller,          4   you aware of any fraud that Mrs. Mahdavi has
 5   right? Oh, she got married.                              5   committed?
 6          (NextGear Exhibit 12 was marked for               6          MR. BRAGDON: Objection. You can answer.
 7   identification and attached to the deposition            7      A    Well, I think we touched upon it. We have
 8   transcript.)                                             8   the original title to the vehicle. So to get any
 9   BY MR. LEVINE:                                           9   financing, you have to provide the financing company
10      Q Have you seen this letter before?                  10   with a title. So the question would be --
11      A I had not seen this, no.                           11   BY MR. LEVINE:
12      Q You've never seen that before? Okay. Are           12      Q    You're talking about BW Auto --
13   you aware of NextGear's communication with Pentagon     13          MR. BRAGDON: He was in the middle of his
14   Federal Credit Union?                                   14   answer. Can he just finish his answer, please?
15      A No.                                                15      A    So, however the financing was conducted, it
16      Q Do you know if anyone else besides Stacy           16   was done by falsified title. Then again, once we saw
17   Miller has been in contact with Federal Credit Union?   17   the information that was on the bill of sale, there
18      A No, I'm not aware.                                 18   was a falsified address. So two of those factors,
19      Q Do you know, is there a file kept with             19   that's how we kind of determined that it was
20   respect to this BMW at NextGear?                        20   fraudulently done.
21      A It would be our standard collections. So           21   BY MR. LEVINE:
22   one of the things that you have here is our             22      Q    How do you know --


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                                                             105                                                         107
  1      A    And the third party -- I'm sorry. The                 1   the information that was provided in answers to
  2   third party, like I said, it was actually purchased           2   interrogatories --
  3   from Manheim prior to being financed in March or what         3          MR. LEVINE: There's a lot of holes in the
  4   have you. And I don't have the exact date. But if             4   answers to interrogatories. And we're trying to
  5   you look at the bill of sale, we actually have it in          5   cover those right now, okay? So I can go through
  6   some of the files here, the bill of sale says it was          6   them one by one if I want.
  7   purchased in March, and it was floored in April, and          7          MR. BRAGDON: Of course you can.
  8   they said it was sold in March as well.                       8          MR. LEVINE: And you can instruct him not
  9      Q    Now, you say that the address used on the             9   to answer if you want, okay?
 10   bill of sale was falsified?                                  10   BY MR. LEVINE:
 11      A    Well, yes. It was not their residence.               11       Q So you don't know who submitted the
 12      Q    And when did you learn that?                         12   paperwork for title?
 13      A    When we got a copy of the bill of sale from          13       A No.
 14   Pentagon. When we got a copy of the title work and           14       Q You don't know what conversations
 15   everything.                                                  15   Mrs. Mahdavi had with Mr. Mahdavi about purchasing
 16      Q    And what led you to believe it was a false           16   the vehicle?
 17   address?                                                     17          MR. BRAGDON: Objection.
 18      A    I actually went down to the address that             18       A No.
 19   they had on there. We realized it was a wholesale            19   BY MR. LEVINE:
 20   address that they had on file with the MVA. No -- it         20       Q Do you know anything about conversations
 21   was basically a garage that was there.                       21   that Mrs. Mahdavi had with anybody about purchasing
 22      Q    Who is "they"?                                       22   the vehicle?

                                                             106                                                         108
 1       A Ms. Mahdavi.                                             1          MR. BRAGDON: Objection to form. You can
 2       Q Okay. And so what knowledge do you have                  2   answer.
 3    that she participated in the fraud?                           3      A No.
 4             MR. BRAGDON: Objection.                              4   BY MR. LEVINE:
 5       A I mean, I don't have -- who filed their                  5      Q Are you aware of any facts to support a
 6    paperwork? I mean, no, I don't have an answer for             6   contention that Mrs. Mahdavi didn't pay for the BMW?
 7    you there.                                                    7          MR. BRAGDON: Objection. Those facts have
 8             MR. BRAGDON: We've also answered these               8   been provided in the answers to interrogatories. You
 9    exact questions in interrogatories.                           9   can answer.
10             MR. LEVINE: I'm sorry. Is there an                  10      A I'm not aware.
11    objection?                                                   11          (NextGear Exhibit 11 was marked for
12             MR. BRAGDON: Yes.                                   12   identification and attached to the deposition
13             MR. LEVINE: Can you state it concisely?             13   transcript.)
14             MR. BRAGDON: Yes. Asked and answered.               14   BY MR. LEVINE:
15    He's answered these --                                       15      Q I'll ask you to take a look at what's been
16             MR. LEVINE: I've heard your objection.              16   marked as NextGear 11. Can you identify this
17    I'm going to ask my questions, okay? I'll go through         17   document?
18    every question I want and have him answer if I feel          18      A Condition report.
19    like it, okay?                                               19      Q Whose record is this?
20             MR. BRAGDON: If you're asking each                  20      A It looks like Manheim's.
21    interrogatory after he's already provided                    21      Q This is not a NextGear record?
22    information, it just seems like a waste of time. But         22      A No. This would be their condition report

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                                                                                           28 (Pages 109 to 112)
                                                        109                                                         111
 1   when they check the vehicles out.                         1      A So again, our attorneys are handling that,
 2      Q And is this something that NextGear would            2   so everything is forwarded to the attorneys.
 3   send -- I mean, excuse me, that Manheim would send to     3      Q Okay. And did your involvement cease?
 4   NextGear?                                                 4      A Correct.
 5      A Yes, I'm sure we get a record of it. Yes.            5      Q Okay. Had BW Auto, other than the BMW, had
 6      Q Okay. Do you know whether Manheim provided           6   they ever floored a vehicle that it had previously
 7   this particular document to NextGear?                     7   sold?
 8      A No. I'm not aware if they did or not.                8          MR. BRAGDON: Objection. You can answer.
 9      Q Does NextGear have any policies and                  9      A Not that we're aware of, not that they got
10   procedures with respect to repossessing vehicles?        10   caught for, no.
11         MR. BRAGDON: Objection. You can answer.            11   BY MR. LEVINE:
12      A Our policy is normally if a dealer is               12      Q So the BMW is the only vehicle you're aware
13   unable to pay the debt, we usually collect whatever      13   of?
14   inventory that is left on the lot.                       14      A Yes. Only because of the bill of sale
15   BY MR. LEVINE:                                           15   provided by -- by Pentagon.
16      Q Is this a written policy?                           16      Q Okay. Of the other vehicles that were on
17      A It's in the contract, yes.                          17   the receivable list, had any of those vehicles been
18      Q So the policy would be stated in the                18   sold?
19   document that's been marked as NextGear 8?               19      A Yes. Again, at the time, I was given the
20         MR. BRAGDON: Objection to form. You can            20   20 bill of sales, so he was saying that they were the
21   answer.                                                  21   sold vehicles. But if we have a record on file, we
22     A    Yes.                                              22   should have a record of list of the bill of sales.

                                                        110                                                         112
 1   BY MR. LEVINE:                                            1   If you look, some of the names were questionable, to
 2      Q Did you review this document prior to                2   say the least.
 3   repossessing the BMW?                                     3       Q In what way?
 4      A Review it with whom?                                 4       A I think one of them said "incognito," and
 5      Q Did you personally review the document?              5   one said "not me," "it wasn't me," that type of
 6      A No.                                                  6   thing.
 7      Q Did you refer to it at all prior to                  7       Q On the bill of sale?
 8   repossessing the vehicle?                                 8       A On the actual bill of sales.
 9           MR. BRAGDON: Objection. You can answer.           9       Q Okay. And do you still have copies of
10   At any point prior?                                      10   those bills of sale?
11           MR. LEVINE: I said, yes, "prior to."             11       A We should have copies of the bill of sales.
12      A So I did not -- I mean, I know the                  12       Q And who provided those to you?
13   contract. We were out a million and a half dollars       13       A Alex at the time.
14   or a million point four dollars, so we were trying to    14       Q Alex did, okay. Do you know whether or not
15   collect anything we could at that time.                  15   his signature was on any of those bills of sale?
16   BY MR. LEVINE:                                           16       A No.
17      Q But you didn't go back and refer to the             17       Q Do you know whether his signature is on the
18   contract prior to repossessing the BMW?                  18   bill of sale to Mrs. Mahdavi?
19      A No, sir.                                            19       A No. So we were just given printouts of the
20      Q So after you learned that Mrs. Mahdavi was          20   bill of sale, so there were no signatures at all.
21   claiming she owned the BMW, what did you do about        21   They stated they had a break-in and all the hard
22   that issue?                                              22   files had been stolen.

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               DEPOSITION OF CORPORATE DESIGNEE, DAVID FREEMAN
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                         29 (Pages 113 to 116)
                                                      113                                                        115
 1       Q Who told you there was a break-in?                1   BY MR. BRAGDON:
 2       A Molavi.                                           2       Q When you said the "standard collection
 3       Q Mr. Molavi?                                       3   file," were you referring to the computer system?
 4       A Yes.                                              4           MR. LEVINE: Objection, leading.
 5       Q I just want to make sure we're not getting        5       A Correct.
 6   Mahdavi and Molavi --                                   6   BY MR. BRAGDON:
 7       A Molavi.                                           7       Q Did you review the computer system at any
 8       Q And when did he say this break-in occurred?       8   point since the repossession?
 9       A I think we should have this documented as         9       A Have I? No, not personally.
10   well. Two weeks prior, I think, or a week prior.       10       Q Did you review it while the repossession
11       Q Did you ask Mr. Mahdavi about this               11   was going on?
12   break-in?                                              12       A Yes.
13       A It was after the fact, so I haven't spoken       13       Q And you reviewed the printout?
14   with him since the day we went through the lot.        14           MR. LEVINE: Objection, leading.
15       Q Does BW Auto only sell used cars?                15       A Yes.
16       A Yes, that I'm aware of.                          16   BY MR. BRAGDON:
17       Q And are you aware about how many cars, what      17       Q Now, you spoke with --
18   percentage it typically would sell at auction versus   18           MR. LEVINE: Objection.
19   selling off the lot?                                   19           MR. BRAGDON: Excuse me?
20       A They didn't usually run vehicles back            20           MR. LEVINE: I'm anticipating another
21   through the auction. They sold 100 percent, I would    21   leading question, so...
22   say, to customers.                                     22   BY MR. BRAGDON:
                                                      114                                                        116
 1      Q Okay. When did NextGear first inform BW            1      Q When did you speak with Alex Mahdavi?
 2   Auto that it was in default?                            2      A So the day we have it, I guess it would
 3      A So we went to the lot that day, I guess the        3   have been April the 20th or whatever it was, the day
 4   April 20th or whatever it was. And we didn't have       4   we discovered that all the vehicles were missing.
 5   any of our inventory, and we didn't have any money.     5      Q And what time was it?
 6   He was in default at that time, so he was made aware    6      A I got there about 10, 10:30 in the morning.
 7   then.                                                   7      Q And you spoke to him before that?
 8      Q So prior to that, NextGear was not aware of        8      A I spoke with him that evening.
 9   any default?                                            9      Q The previous evening?
10      A Yeah, no.                                         10      A Mm-hmm.
11      Q And prior to that, NextGear had not               11      Q And what time was that?
12   informed BW that it was in default?                    12      A It was about probably 6:30, 7. He told me
13      A No.                                               13   he would give me a call back.
14          MR. BRAGDON: Objection to form. You can         14      Q Did he?
15   answer.                                                15      A No, he never did.
16      A No.                                               16      Q And what did you discuss?
17          MR. LEVINE: I don't have any further            17      A I just asked him is everything okay.
18   questions.                                             18      Q What did he tell you?
19          MR. MARKELS: No questions.                      19      A Yes.
20          MR. BRAGDON: Just a few questions.              20      Q Did he tell you any cars were missing from
21           EXAMINATION BY COUNSEL FOR                     21   the lot?
22          DEFENDANT NEXTGEAR CAPITAL INC.                 22      A No.

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                                                                                                  30 (Pages 117 to 120)
                                                       117                                                               119
 1      Q From your experience, what were                     1      A     There is a copy of the bill of sales, but
 2   Mr. Mahdavi's job responsibilities?                      2   there are no signatures.
 3      A He was the general manager. He was in               3      Q     Got you.
 4   charge of all financing and managing the floor plan.     4      A     So they would just be computer printouts,
 5      Q Did he manage submission of funds to                5   is what he provided us with.
 6   NextGear?                                                6      Q     And did you ever see a bill of sale for the
 7      A Correct.                                            7   BMW?
 8      Q And did he provide bills of sale when they          8      A     No. Not until Pentagon provided it.
 9   came in?                                                 9            MR. BRAGDON: No further questions.
10      A Yes. He was -- our auditor would speak             10      FURTHER EXAMINATION BY COUNSEL FOR PLAINTIFF
11   with him and collect the bill of sales.                 11   BY MR. LEVINE:
12      Q Did he provide you a bill of sale for the          12      Q     You said that when you called Mr. Mahdavi
13   BMW when you saw him?                                   13   the evening before you went to the lot --
14      A No.                                                14      A     Mm-hmm.
15      Q Did he tell you that it had been sold?             15      Q     -- you asked him if everything was okay?
16      A No.                                                16      A     Mm-hmm.
17      Q Did he submit any funds to NextGear?               17      Q     Did you specify what you were talking
18      A No.                                                18   about?
19          MR. LEVINE: Objection, foundation.               19      A     No. I just said, "Is everything all right,
20   BY MR. BRAGDON:                                         20   you had some payments due" or something like that,
21      Q And you testified earlier there was a              21   "Are you okay to make those." Just a regular call.
22   break-in?                                               22   A lot of my dealers forget, they have a cutoff of

                                                       118                                                               120
 1       A Yes.                                               1   8:00.
 2       Q And what did he tell you was gone from the         2       Q Had they missed any payments at that point?
 3   break-in?                                                3       A No. He said "No, I'll get right on it."
 4       A The hard copies of files. So their --              4       Q And what time of night was that?
 5   their original bill of sales and things like that.       5       A Probably about 7, 7:30. Like I said, our
 6       Q So what vehicles were those bills of sale          6   system cuts off at 8. They will get a late fee.
 7   supposed to be for?                                      7       Q And what time did you arrive at the lot the
 8       A They are for --                                    8   next day?
 9           MR. LEVINE: Objection.                           9       A 10:30. Usually the lines open up at 10.
10       A -- I guess the 20 that he gave me, what I         10   Usually between 10 and 10:30.
11   was trying to make him understand, there was no         11       Q And did Mr. Mahdavi do anything when you
12   signatures on them, because they said the hard files    12   arrived at the lot to try to, you know, conceal
13   had been stolen.                                        13   himself?
14   BY MR. BRAGDON:                                         14          MR. BRAGDON: Objection. You can answer.
15       Q And the hard files, are you talking the           15       A No.
16   hard file bills of sale?                                16   BY MR. LEVINE:
17       A Correct.                                          17       Q Did he keep you waiting?
18       Q Now, Mr. Mahdavi did provide a hard file          18       A No. It was status quo.
19   bill of sale; is that correct?                          19       Q Okay.
20       A No.                                               20       A And that's the other answer in our
21       Q Is there a copy of the bill of sale in the        21   collection screen. "Status quo."
22   documents you reviewed?                                 22       Q And what does it mean?

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                                                                                                           31 (Pages 121 to 124)
                                                             121                                                               123
 1       A Basically status quo, we're just doing our               1              ACKNOWLEDGEMENT OF DEPONENT
 2    normal followup. So nothing out of the ordinary.              2           I, DAVID FREEMAN, do hereby acknowledge
 3       Q Who is the auditor that would speak to                   3   that I have read and examined the foregoing
 4    Mr. Mahdavi?                                                  4   testimony, and the same is a true, correct and
 5       A Jeffrey White.                                           5   complete transcription of the testimony given by me,
 6       Q And did Mr. White speak to Mr. Mahdavi                   6   and any corrections appear on the attached Errata
 7    about the BMW?                                                7   sheet signed by me.
 8       A I'm not aware, no. We would have to look                 8
 9    at an audit.                                                  9   _________________ ______________________________
10       Q Is there an audit file?                                 10        (DATE)                 (SIGNATURE)
11       A Yes, we should have that.                               11
12       Q And would the BMW be referenced in the                  12
13    audit file?                                                  13
14       A Yes, it should. Depending on his last                   14
15    audit and the purchase date. Like I said, we give an         15
16    audit every 30 days.                                         16
17       Q Okay. And does the audit cover all the                  17
18    vehicles that are submitted for floor plan within            18
19    that 30 days?                                                19
20       A No. Every vehicle on the receivable.                    20
21       Q Okay.                                                   21
22       A So any vehicle that has been financed and               22

                                                             122                                                               124
  1   not paid off is what we're inspecting.                        1     CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
  2      Q      Okay. Do you know whether an audit had              2          I, Lee Bursten, the officer before whom the
  3   been run after the time the BMW would have appeared           3   foregoing deposition was taken, do hereby certify
  4   on the receivable?                                            4   that the foregoing transcript is a true and correct
  5      A      No, I do not. Mine was the last audit that          5   record of the testimony given; that said testimony
  6   day.                                                          6   was taken by me stenographically and thereafter
  7      Q      Okay. So you also perform audits?                   7   reduced to typewriting under my direction; that
  8      A      Yes. If there's an issue, I'll follow up            8   reading and signing was requested; and that I am
  9   to see what's going on, and make a determination from         9   neither counsel for, related to, nor employed by any
 10   there.                                                       10   of the parties to this case and have no interest,
 11            MR. LEVINE: Okay. That's it.                        11   financial or otherwise, in its outcome.
 12            MR. BRAGDON: Thank you. We'll read.                 12          IN WITNESS WHEREOF, I have hereunto set my
 13            THE REPORTER: Mr. Bragdon, are you                  13   hand and affixed my notarial seal this 27th day of
 14   ordering a copy of the transcript?                           14   November, 2014.
 15            MR. BRAGDON: Yes, please. E-Tran.                   15   My commission expires June 30, 2019.
 16            THE REPORTER: And Mr. Markels?                      16
 17            MR. MARKELS: Electronic, please.                    17
 18            (Signature having not been waived, the              18
 19   deposition of NEXTGEAR CAPITAL, INC., By and through         19   ______________________________
 20   its Corporate Designee, DAVID FREEMAN, was concluded         20   LEE BURSTEN
 21   at 1:41 p.m.)                                                21   NOTARY PUBLIC IN AND FOR
 22                                                                22   THE DISTRICT OF COLUMBIA


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